                                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 1 of 160

                           HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                       GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                                Infringement by the Samsung Exhibit II 4G1




                                    The Calendar application provides a user interface that allows a user to access and edit structured data
                                    corresponding to calendar entries associated with a first database. As shown in the screenshot below, the user
                                    interface of the Calendar application allows a user to access and edit structured data in a first store associated
                                    with a first database. The Calender application uses                       to access and edit structured data in a
                                    SQLite database.8 (Android Developer Site at Class SQLiteDatabase, available at
                                    http://developer.android.com/reference/android/database/sqlite/SQLiteDatabase.html.)




  8   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

  9   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

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                                    Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 2 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                                 Infringement by the Samsung Exhibit II 4G1




                                                                                    ,

                                     The Gmail application provides a user interface that allows a user to access and edit structured data
                                     corresponding to emails associated with a first database. (Id.) As shown in the screenshot below, the user
                                     interface of the Gmail application allows a user to access and edit structured data in a first store associated with
                                     a first database.10

                                     (Android Developer Site at Class SQLiteDatabase, available at
                                     http://developer.android.com/reference/android/database/sqlite/SQLiteDatabase.html.)

  10 All versions of the Gmail application that have been produced operate identically for purposes of infringing functionality outlined in this document. All versions of the
  Google synchronization code that have been produced operate identically for purposes of infringing functionality outlined in this document.

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                                Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 3 of 160

                           HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                       GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                     Infringement by the Samsung Exhibit II 4G1




executing at least one          The Samsung Exhibit II 4G is a computer readable storage media containing executable program instructions
synchronization processing      which, when executed, cause the products to perform the step of executing at least one synchronization
thread concurrently with the    processing thread concurrently with the executing of the at least one user-level non-synchronization processing
executing of the at least one   thread.




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                                     Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 4 of 160

                             HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                         GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                                  Infringement by the Samsung Exhibit II 4G1

user-level non-
synchronization processing            For example, the Exhibit II 4G (T-Mobile), includes software implementing the
thread,                               AbstractThreadedSyncAdapter11 class, which provides “an abstract implementation of a SyncAdapter that
                                      spawns a thread to invoke a sync operation.(Android Developer Site at Class AbstractThreadedSyncAdapter,
                                      available at http://developer.android.com/reference/android/content/AbstractThreadedSyncAdapter.html.)
                                      Specifically, the AbstractThreadedSyncAdapter creates and starts a new SyncThread, which is a synchronization
                                      processing thread. This process of starting a new SyncThread is initiated in the ISyncAdapterImpl class, found
                                      in AbstractThreadedSyncAdapter.12 The Email, Contacts, Calendar, and Gmail applications utilize respectively
                                      the following classes, all of which are subclasses of AbstractThreadedSyncAdapter:
                                      EmailSyncAdapterService.SyncAdapterImpl (or EmailSyncAlarmReceiver) 13,
                                      ContactsSyncAdapterService.SyncAdapterImpl14, CalendarSyncAdapterService.SyncAdapterImpl15, and


                                      Use of the Exhibit II 4G (T-Mobile) demonstrates that the synchronization processing thread is active
                                      concurrently16 with the non-synchronization processing thread. For example, a user can create an event using
                                      the Calendar application on the Exhibit II 4G (T-Mobile), as seen in this screenshot:




   11   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

   12   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

   13   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix. In Android
   version 2.3, the                                                    , which operates identically for relevant purposes.

   14   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

   15   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

   16   The Court construed “concurrently” to mean “. . . during an overlapping time interval.” Claim Construction Order, 4/10/13 (D.I. 447).

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                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 5 of 160

                        HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                    GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                  Infringement by the Samsung Exhibit II 4G1




                              While the user is still accessing and editing Calendar data in the Calendar application, the same event then
                              appears in the user’s Google calendar, accessed from a computer, as seen in the screenshot below. This
                              demonstrates that the synchronization processing thread executes concurrently with at least one non-
                              synchronization processing thread. The Email, Contacts, and Gmail applications behave similarly with respect
                              to the infringing functionality.




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                                 Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 6 of 160

                          HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                      GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                      Infringement by the Samsung Exhibit II 4G1




wherein the at least one         The Samsung Exhibit II 4G is a computer readable storage media containing executable program instructions
synchronization processing       which, when executed, cause the products to perform the step of executing at least one synchronization
thread is provided by a          processing thread concurrently with the executing of the at least one user-level non-synchronization processing
synchronization software         thread, wherein the at least one synchronization processing thread is provided by a synchronization software
component which is               component which is configured to synchronize the structured data from the first database with the structured
configured to synchronize the    data from a second database.
structured data from the first
database with the structured     The Email, Gmail, Calendar and Contacts application each have a synchronization software component which is
data from a second database.     configured to synchronize the structured data from the first database with the structured data from a second
                                 database.

                                 To synchronize data with an Exchange server the Email application utilizes a

                                                                          10
                                    Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 7 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                                 Infringement by the Samsung Exhibit II 4G1

                                     EmailSyncAdapterService.SyncAdapterImpl (or EmailSyncAlarmReceiver);17 the Contacts application utilizes a
                                     ContactsSyncAdapterService.SyncAdapterImpl;18 the Calendar application utilizes a
                                     CalendarSyncAdapterService.SyncAdapterImpl.19 EmailSyncAdapterService.SyncAdapterImpl (or
                                     EmailSyncAlarmReceiver), ContactsSyncAdapterService.SyncAdapterImpl, and
                                     CalendarSyncAdapterService.SyncAdapterImpl are subclasses of AbstractThreadedSyncAdapter described
                                     above, and each provides at least one synchronization processing thread.

                                     In addition, the Email, Contacts, and Calendar applications are configured to synchronize data through the use
                                     of the ExchangeService (or SyncManager) class to synchronize that application’s data.20 The ExchangeService
                                     (or SyncManager) class “handles all aspects of starting, maintaining, and stopping the various sync adapters
                                     used by Exchange. However, it is capable of handling any kind of email sync.”21 Through a series of function
                                     calls, the synchronization software components ultimately call




  17 All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix. In Android
  version 2.3, the                                                  , which operates identically for relevant purposes.

  18   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

  19   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

  20   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix. In Android
  version 2.3, the                                                              which operates identically for relevant purposes.

  21   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

  22   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

  23   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

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                                    Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 8 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                                 Infringement by the Samsung Exhibit II 4G1




                                     “The design of Exchange Server is based on standard database technology. The system relies on an embedded
                                     database engine that lays out the structure of the disk for Exchange Server and manages memory. The database
                                     engine technology is also used behind the scenes by other Windows applications, for example, Windows
                                     Internet Name Service (WINS) and Dynamic Host Configuration Protocol (DHCP).” Overview of Exchange
                                     Server database architecture and Database Engine available at http://support.microsoft.com/kb/271987.

                                     To synchronize data with Google’s servers, the Gmail application utilizes a synchronization software component
                                     which is configured to synchronize the structured data from the first database with the structured data from a
                                     second database.
                                                                                                                         This component provides at
                                     least one synchronization processing thread. T                                             e data through the use

                                                                                         . These classes synchronize structured data from the first
                                     database on the Exhibit II 4G (T-Mobile) with the structured data from a second database that are part of


  24   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

  25   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

  26   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

  27   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

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                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 9 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                        Infringement by the Samsung Exhibit II 4G1

                               Google’s servers, which store structured data in a database. “Examples of well-known Google applications that
                               use Megastore are Gmail, Picasa, Calendar, Android Market, and AppEngine.” (Corbett, J., et al., Spanner:
                               Google’s Globally-Distributed Database, Published in the Proceedings of OSDI 2012, available at
                               http://static.googleusercontent.com/external_content/untrusted_dlcp/research.google.com/en/us/archive/spanner-
                               osdi2012.pdf; for a description of Megastore as a database that stores structured data, see Baker, J., Megastore:
                               Providing Scalable, Highly Available Storage for Interactive Services, 5th Biennial Conference on Innovative
                               Data Systems Research (CIDR ’11), January 9-12, 2011, available at
                               http://www.cidrdb.org/cidr2011/Papers/CIDR11_Paper32.pdf.)

                               In addition, the Contacts and Calendar applications further synchronize structured data with Google’s servers.
                               The Contacts and Calendar application utilize synchronization software components which are configured to
                               synchronize the structured data from the first database with the structured data from a second database. T


                                                                                                                                      . These
                               components provide at least one synchronization processing thread. In order to synchronize data, these
                               components operate on structured data from the first database on the Exhibit II 4G (T-Mobile), which can be
                               observed in the source code of the files, and the classes operate on structured data from a second database that
                               are part of Google’s servers. As explained above, Google’s servers store structured data in a database.

                               By way of further example, the synchronization processing thread is configured to synchronize the structured
                               data from a first database, such as a Google calendar displayed using the Calendar application on the Exhibit II
                               4G (T-Mobile) with the structured data from a second database, such as the user’s Google calendar data
                               maintained on Google’s servers. A user can create an event using the Calendar app on the Exhibit II 4G (T-
                               Mobile), thus updating the structured data on the first database, as seen in this screenshot:




  28   This file is named                    in some versions, but the relevant functionality operates identically to

                                                                              13
                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 10 of 160

                        HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                    GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                    Infringement by the Samsung Exhibit II 4G1




                               While the user is still accessing and editing Calendar data in the Calendar application, the same event then
                               appears in the user’s Google calendar, accessed from a computer, as seen in the screenshot below. This
                               demonstrates that the structured data from the first database was synchronized with the structured data from the
                               second database on Google’s servers. The Email, Contacts, and Gmail applications behave similarly with
                               respect to the infringing functionality.




                                                                         14
                                 Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 11 of 160

                          HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                      GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                       Infringement by the Samsung Exhibit II 4G1




Claim 20 of the ’414 Patent                                        Infringement by the Samsung Exhibit II 4G

20. The storage medium as in      The Samsung Exhibit II 4G comprises the storage medium as in claim 11 wherein the synchronization software
claim 11 wherein the              component is configured to synchronize structured data of a first data class and other synchronization software
synchronization software          components are configured to synchronize structured data of other corresponding data classes.
component is configured to
synchronize structured data of    The Email, Gmail, Calendar and Contacts application each have a synchronization software component which is
a first data class and other      configured to synchronize the structured data from the first database with the structured data from a second
synchronization software          database.
components are configured to
synchronize structured data of    To synchronize data with an Exchange server the Email application utilizes a

                                                                           15
                                    Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 12 of 160

                             HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                         GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 20 of the ’414 Patent                                                  Infringement by the Samsung Exhibit II 4G

other corresponding data                                                                                                   iver); the Contacts application utilizes a
classes.
                                                                                                   E

                                                                                                                                                          described
                                      above, and each provides at least one synchronization processing thread.

                                      In addition, the Email, Contacts, and Calendar applications are configured to synchronize data through the use of
                                      the                    (or                class to synchronize that application’s data.32 The                   (or
                                                      class “handles all aspects of starting, maintaining, and stopping the various sync adapters used by
                                      Exchange. However, it is capable of handling any kind of email sync.”33 Through a series of function calls, the
                                      synchronization software components ultimately call




                                      Each of the synchronization software components is configured to synchronize structured data of different data

   29 All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix. In Android
   version 2.3, the                                                  , which operates identically for relevant purposes.

   30   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

   31   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

   32   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix. In Android
   version 2.3, the                                                              which operates identically for relevant purposes.

   33   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

   34   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

   35   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

                                                                                        16
                                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 13 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 20 of the ’414 Patent                                                 Infringement by the Samsung Exhibit II 4G

                                     classes corresponding to the application. Thus, the Email synchronization software component is configured to
                                     synchronize structured data of an Email data class; the Contacts synchronization software component is
                                     configured to synchronize structured data of a Contacts data class; and the Calendar synchronization software
                                     component is configured to synchronize structured data of a Calendar data class.




                                     “The design of Exchange Server is based on standard database technology. The system relies on an embedded
                                     database engine that lays out the structure of the disk for Exchange Server and manages memory. The database
                                     engine technology is also used behind the scenes by other Windows applications, for example, Windows
                                     Internet Name Service (WINS) and Dynamic Host Configuration Protocol (DHCP).” Overview of Exchange
                                     Server database architecture and Database Engine available at http://support.microsoft.com/kb/271987.

                                     To synchronize data with Google’s servers, the Gmail application utilizes a synchronization software component
                                     which is configured to synchronize the structured data from the first database with the structured data from a
                                     second database.
                                                                                                                         This component provides at

  36   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

  37   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

  38   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

  39   All accused versions of the Exhibit II 4G implement the same functionality. See Table for indicated file in 414 - Exhibit II 4G - Source Code Appendix.

                                                                                       17
                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 14 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 20 of the ’414 Patent                                        Infringement by the Samsung Exhibit II 4G

                               least one synchronization processing thread. T                                           nize data through the use
                                                                          ilE
                                                                                    . These classes synchronize structured data from the first
                               database on the Exhibit II 4G (T-Mobile) with the structured data from a second database that are part of
                               Google’s servers, which store structured data in a database. “Examples of well-known Google applications that
                               use Megastore are Gmail, Picasa, Calendar, Android Market, and AppEngine.” (Corbett, J., et al., Spanner:
                               Google’s Globally-Distributed Database, Published in the Proceedings of OSDI 2012, available at
                               http://static.googleusercontent.com/external_content/untrusted_dlcp/research.google.com/en/us/archive/spanner-
                               osdi2012.pdf; for a description of Megastore as a database that stores structured data, see Baker, J., Megastore:
                               Providing Scalable, Highly Available Storage for Interactive Services, 5th Biennial Conference on Innovative
                               Data Systems Research (CIDR ’11), January 9-12, 2011, available at
                               http://www.cidrdb.org/cidr2011/Papers/CIDR11_Paper32.pdf.)

                               In addition, the Contacts and Calendar applications further synchronize structured data with Google’s servers.
                               The Contacts and Calendar application utilize synchronization software components which are configured to
                               synchronize the structured data from the first database with the structured data from a second database. T
                                                                                  oid/syncadapters/ContactsSyncAdapter.java from

                                                                                                                                      . These
                               components provide at least one synchronization processing thread. In order to synchronize data, these
                               components operate on structured data from the first database on the Exhibit II 4G (T-Mobile), which can be
                               observed in the source code of the files, and the classes operate on structured data from a second database that
                               are part of Google’s servers. As explained above, Google’s servers store structured data in a database.

                               Each of the synchronization software components is configured to synchronize structured data of different data
                               classes corresponding to the application. Thus, the Gmail synchronization software component is configured to
                               synchronize structured data of a Gmail data class; the Google Contacts synchronization software component is
                               configured to synchronize structured data of a Google Contacts data class; and the Google Calendar
                               synchronization software component is configured to synchronize structured data of a Google Calendar data

  40   This file is named                    in some versions, but the relevant functionality operates identically to

                                                                              18
                                    Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 15 of 160

                             HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                         GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 20 of the ’414 Patent                                                    Infringement by the Samsung Exhibit II 4G

                                      class.



Claim 27 of the ’414 Patent                                                    Infringement by the Samsung Exhibit II 4G

27. A computer readable               To the extent that the preamble may be construed to be limiting, the Samsung Exhibit II 4G comprises a
storage medium containing             computer readable storage medium containing executable program instructions which, when executed, cause a
executable program                    data processing system to perform the method recited.
instructions which when
executed cause a data                 See explanation for corresponding part of claim 11 above.
processing system to perform
a method comprising41:
executing at least one non-           The Samsung Exhibit II 4G is a computer readable storage media containing executable program instructions
synchronization processing            which, when executed, cause the products to perform the step of executing at least one non-synchronization
thread, wherein the at least          processing thread, wherein the at least one non-synchronization processing thread is provided by a user
one non-synchronization               application which provides a user interface to allow a user to access and edit structured data in a first store
processing thread is provided         associated with a first database.
by a user application which
provides a user interface to          See explanation for corresponding part of claim 11 above.
allow a user to access and edit
structured data in a first store
associated with a first
database;
and executing at least one            The Samsung Exhibit II 4G is a computer readable storage media containing executable program instructions
synchronization processing            which, when executed, cause the products to perform the step of executing at least one synchronization
thread concurrently with the          processing thread concurrently with the executing of the at least one user-level non-synchronization processing

   41   Apple’s inclusion of citations related to any claim preamble in this claim chart should not be interpreted as an admission that the preamble is limiting. Apple reserves the
   right to take the position that the claim preambles are limiting or not limiting on a claim by claim basis.



                                                                                         19
                                Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 16 of 160

                          HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                      GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 27 of the ’414 Patent                                       Infringement by the Samsung Exhibit II 4G

executing of the at least one    thread.
user level non-
synchronization processing       See explanation for corresponding part of claim 11 above.
thread,
wherein the at least one         The Samsung Exhibit II 4G is a computer readable storage media containing executable program instructions
synchronization processing       which, when executed, cause the products to perform the step of executing at least one synchronization
thread is provided by a          processing thread concurrently with the executing of the at least one user-level non-synchronization processing
synchronization software         thread, wherein the at least one synchronization processing thread is provided by a synchronization software
component which is               component which is configured to synchronize the structured data from the first database with the structured
configured synchronize the       data from a second database.
structured data the first
database with the structured     See explanation for corresponding part of claim 11 above.
data from a second database.




                                                                          20
                          Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 17 of 160

HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY – SOURCE CODE
GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

                                                  Appendix – 7,761,414 for the Exhibit II 4G

        Samsung’s response to Apple’s Interrogatory No. 41 stated that “An asterisk by a given ‘Date Available’ denotes a
Maintenance Release (‘MR’) meant to alter one or more functionalities that may relate to Apple’s Patent-in-Suit.” Therefore versions
of the software available on the accused device listed in this table are either the initial software release available on the accused device
or a Maintenance Release denoted with an asterisk by Samsung. All other software releases available on the accused device including
all other Maintenance Releases, per Samsung’s admission, are identical for purposes of analysis of the functionalities related to the
Patents-In-Suit to the initial software release on the accused device or another Maintenance Release listed in this chart.

                                                         Samsung Exhibit II 4G




Model Name        Android             S/W Version        Source Code File Location
(Carrier)         Operating           No.
                  System


SGH-T679          2.3.5


                  2.3.6




                                                         Samsung Exhibit II 4G
                      Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 18 of 160




Model Name    Android           S/W Version     Source Code File Location
(Carrier)     Operating         No.
              System


SGH-T679      2.3.5



              2.3.6




                                                Samsung Exhibit II 4G




Model Name   Android          S/W Version     Source Code File Location
(Carrier)    Operating        No.
             System


SGH-T679     2.3.5


             2.3.6




                                         2
                     Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 19 of 160




                                             Samsung Exhibit II 4G




Model Name   Android         S/W Version   Source Code File Location
(Carrier)    Operating       No.
             System


SGH-T679     2.3.5


             2.3.6




                                             Samsung Exhibit II 4G




Model Name   Android         S/W Version   Source Code File Location
(Carrier)    Operating       No.
             System


SGH-T679     2.3.5


             2.3.6



                                       3
                      Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 20 of 160




                                                Samsung Exhibit II 4G




Model Name   Android          S/W Version     Source Code File Location
(Carrier)    Operating        No.
             System


SGH-T679     2.3.5


             2.3.6




                                                Samsung Exhibit II 4G




Model Name    Android           S/W Version     Source Code File Location
(Carrier)     Operating         No.
              System


SGH-T679      2.3.5




                                         4
                     Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 21 of 160




             2.3.6




                                             Samsung Exhibit II 4G




Model Name   Android           S/W Version   Source Code File Location
(Carrier)    Operating         No.
             System


SGH-T679     2.3.5


             2.3.6




                                             Samsung Exhibit II 4G




Model Name   Android           S/W Version   Source Code File Location
(Carrier)    Operating         No.
             System




                                        5
                     Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 22 of 160




SGH-T679     2.3.5


             2.3.6




                                             Samsung Exhibit II 4G




Model Name   Android           S/W Version   Source Code File Location
(Carrier)    Operating         No.
             System


SGH-T679     2.3.5


             2.3.6




                                             Samsung Exhibit II 4G




Model Name   Android           S/W Version   Source Code File Location
             Operating


                                        6
                     Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 23 of 160




(Carrier)    System            No.


SGH-T679     2.3.5


             2.3.6




                                             Samsung Exhibit II 4G




Model Name   Android           S/W Version   Source Code File Location
(Carrier)    Operating         No.
             System


SGH-T679     2.3.5


             2.3.6




                                             Samsung Exhibit II 4G




                                        7
                     Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 24 of 160




Model Name   Android           S/W Version   Source Code File Location
(Carrier)    Operating         No.
             System


SGH-T679     2.3.5


             2.3.6




                                             Samsung Exhibit II 4G




Model Name   Android           S/W Version   Source Code File Location
(Carrier)    Operating         No.
             System


SGH-T679     2.3.5


             2.3.6




                                             Samsung Exhibit II 4G




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                     Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 25 of 160




Model Name   Android           S/W Version   Source Code File Location
(Carrier)    Operating         No.
             System


SGH-T679     2.3.5


             2.3.6




                                             Samsung Exhibit II 4G




Model Name   Android           S/W Version   Source Code File Location
(Carrier)    Operating         No.
             System


SGH-T679     2.3.5


             2.3.6




                                        9
                           Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 26 of 160



101511986_1 (EXHIBIT II 4G - SOURCE CODE APPENDIX).DOCX




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Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 27 of 160




                EXHIBIT B-6

 Unredacted Version of
Document Sought To Be
   Filed Under Seal
   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 28 of 160




                        EXHIBIT B6


                   GALAXY NEXUS



INFRINGEMENT CLAIM CHART FOR U.S. PATENT NO. 7,761,414
                     FILED UNDER SEAL
                                     Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 29 of 160

                              HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                          GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

                                                      Infringement Claim Chart for U.S. Patent No. 7,761,414


Claim 11 of the ’414 Patent                                                    Infringement by the Samsung Galaxy Nexus1

11. A computer readable                To the extent that the preamble may be construed to be limiting, the Samsung Galaxy Nexus comprises a
storage medium containing              computer readable storage medium containing executable program instructions which, when executed, cause a
executable program                     data processing system to perform the method recited.
instructions which when
executed cause a data                  The Galaxy Nexus (Verizon) running Android 4.0 is used herein as an exemplary device. All the accused
processing system to perform           versions are identical in all relevant respects. The Galaxy Nexus (Verizon) running Android 4.0 includes a 1.2
a method comprising2:                  GHz dual-core processor CPU, 32GB of on-board memory, a 4.65” HD Super AMOLED screen,
                                       CDMA/PCS/EVDO/LTE, WiFi and Bluetooth radios providing the connectivity listed below, and software
                                       comprising version 4.0 of the Android operating system, along with various pre-installed applications and
                                       therefore is a machine capable of implementing the method recited.




   1    In this document, “Galaxy Nexus” refers to all of the following accused versions of the Samsung Galaxy Nexus (“accused versions”): the Samsung Galaxy Nexus
   (Verizon) sold with Android 4.0, the Samsung Galaxy Nexus (Sprint) sold with Android 4.0, the Samsung Galaxy Nexus (Verizon) sold with Android Jelly Bean, the
   Samsung Galaxy Nexus (Sprint) sold with Android Jelly Bean, including versions upgraded to later versions of Android operating system. The specifications for the Verizon
   Samsung Galaxy Nexus (shipped with Android 4.0 but upgradeable to Android Jelly Bean according to
   http://www.samsung.com/us/support/SupportOwnersFAQPopup.do?faq_id=FAQ00050212&fm_seq=55187 (last visited May 3, 2013)) can be found here:
   http://www.samsung.com/us/mobile/cell-phones/SCH-I515MSAVZW-specs (last visited May 3, 2013). The specifications for the Sprint Samsung Galaxy Nexus (shipped
   with Android 4.0 but upgradeable to Android Jelly Bean according to
   http://www.samsung.com/us/support/SupportOwnersFAQPopup.do?faq_id=FAQ00050212&fm_seq=55187 (last visited May 3, 2013)) can be found here:
   http://www.samsung.com/us/mobile/cell-phones/SPH-L700ZKASPR-specs (last visited May 3, 2013). The specifications cited in the main text of this document refer to the
   Galaxy Nexus (Verizon) running Android 4.0, unless otherwise specified. The infringing functionality outlined in this document does not vary across any accused version of
   the Galaxy Nexus or their respective carriers. Therefore, the contentions in this document apply to all accused versions of the Galaxy Nexus. Where source code is described
   that provides instructions or results in certain functionality, that source code is an excerpt of the relevant source code, and is not necessarily the exclusive source code for those
   instructions or functionality.

   2    Apple’s inclusion of citations related to any claim preamble in this claim chart should not be interpreted as an admission that the preamble is limiting. Apple reserves the
   right to take the position that the claim preambles are limiting or not limiting on a claim by claim basis.

                                                                                            1
                                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 30 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                                 Infringement by the Samsung Galaxy Nexus1




                                     See Galaxy Nexus (Verizon) running Android 4.0’s specifications (n.1, supra).3 The Galaxy Nexus (Verizon)
                                     running Android 4.0 contains instructions within its computer readable media, to perform the claimed steps.
                                     The Galaxy Nexus (Verizon) running Android 4.0 includes the Android software platform, which includes such
                                     instructions, as set forth below.
executing at least one user-         The Samsung Galaxy Nexus is a computer readable storage media containing executable program instructions
level non-synchronization            which, when executed, cause the products to perform the step of executing at least one user-level non-
processing thread, wherein the       synchronization processing thread, wherein the at least one user-level non-synchronization processing thread is
at least one user-level non-         provided by a user application which provides a user interface to allow a user to access and edit structured data
synchronization processing           in a first store associated with a first database.
thread is provided by a user
application which provides a         By way of example, the Galaxy Nexus (Verizon) running Android 4.0 includes program instructions which,
                                     when executed, cause the Galaxy Nexus (Verizon) running Android 4.0 to perform the step of executing

   3   All accused versions of the Galaxy Nexus have similar hardware, software, and functionality as shown in each version’s respective specifications. See n.1, supra.

                                                                                        2
                                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 31 of 160

                             HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                         GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                                Infringement by the Samsung Galaxy Nexus1

user interface to allow a user       applications such as the Email, Contacts, Calendar, and Gmail applications. These applications provide a user-
to access and edit structured        level non-synchronization processing thread that provides a user interface to allow users of the applications to
data in a first store associated     access and edit structured data in a first store associated with a first database.
with a first database; and
                                     The Android software platform is based on the Linux operating system, with user-level “Android Applications
                                     [that] are written in the Java programming language.” (Android Developer Site at Application Fundamentals,
                                     available at http://developer.android.com/guide/topics/fundamentals.html).

                                             “When an application is launched, the system creates a thread of execution for the application, called
                                             ‘main.’ This thread is very important because it is in charge of dispatching events to the appropriate user
                                             interface widgets, including drawing events. It is also the thread in which your application interacts with
                                             components from the Android UI toolkit (components from the android.widget and android.view
                                             packages). As such, the main thread is also sometimes called the UI thread.” (Android Developer Site at
                                             Processes and Threads, available at http://developer.android.com/guide/components/processes-and-
                                             threads.html).

                                     The Email, Contacts, Calendar, and Gmail applications are all Android applications and, accordingly, threads of
                                     execution associated with them are user-level threads. As set forth below, synchronization activities are
                                     performed in a separate thread and, accordingly, the threads for the Email, Contacts, Calendar, and Gmail
                                     applications are user-level non-synchronization processing threads.

                                     The Email application provides a user interface that allows a user to access and edit structured data
                                     corresponding to emails in a first store associated with a first database. The Email application uses
                                     EmailProvider to access and edit structured data in a SQLite database.4 (Android Developer Site at Class
                                     SQLiteDatabase, available at
                                     http://developer.android.com/reference/android/database/sqlite/SQLiteDatabase.html.) This database is created
                                     by the various methods in              or                 depending on the version of Android.5

    4   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

    5   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

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                                 Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 32 of 160

                           HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                       GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                              Infringement by the Samsung Galaxy Nexus1


                                   The Contacts application provides a user interface that allows a user to access and edit structured data
                                   corresponding to contacts associated with a first database. As shown in the screenshot below, the user interface
                                   of the Contacts application allows a user to access and edit structured data in a first store associated with a first
                                   database. The Contacts application uses ContactsProvider2 to access and edit structured data in a SQLite
                                   database.6 (Android Developer Site at Class SQLiteDatabase, available at
                                   http://developer.android.com/reference/android/database/sqlite/SQLiteDatabase.html.)




  6   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

  7   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

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                                 Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 33 of 160

                           HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                       GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                              Infringement by the Samsung Galaxy Nexus1




                                   The Calendar application provides a user interface that allows a user to access and edit structured data
                                   corresponding to calendar entries associated with a first database. As shown in the screenshot below, the user
                                   interface of the Calendar application allows a user to access and edit structured data in a first store associated
                                   with a first database. The Calender application uses                       to access and edit structured data in a
                                   SQLite database. (Android Developer Site at Class SQLiteDatabase, available at
                                                     8




  8   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

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                                 Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 34 of 160

                           HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                       GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                              Infringement by the Samsung Galaxy Nexus1

                                   http://developer.android.com/reference/android/database/sqlite/SQLiteDatabase.html.)




                                                                                 ,

                                   The Gmail application provides a user interface that allows a user to access and edit structured data
                                   corresponding to emails associated with a first database. (Id.) As shown in the screenshot below, the user




  9   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

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                                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 35 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                                Infringement by the Samsung Galaxy Nexus1

                                     interface of the Gmail application allows a user to access and edit structured data in a first store associated with
                                     a first database.10

                                     (Android Developer Site at Class SQLiteDatabase, available at
                                     http://developer.android.com/reference/android/database/sqlite/SQLiteDatabase.html.)




  10 All versions of the Gmail application that have been produced operate identically for purposes of infringing functionality outlined in this document. All versions of the
  Google synchronization code that have been produced operate identically for purposes of infringing functionality outlined in this document.

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                               Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 36 of 160

                          HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                      GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                     Infringement by the Samsung Galaxy Nexus1




executing at least one          The Samsung Galaxy Nexus is a computer readable storage media containing executable program instructions
synchronization processing      which, when executed, cause the products to perform the step of executing at least one synchronization
thread concurrently with the    processing thread concurrently with the executing of the at least one user-level non-synchronization processing
                                                                          8
                                    Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 37 of 160

                             HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                         GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                                 Infringement by the Samsung Galaxy Nexus1

executing of the at least one         thread.
user-level non-
synchronization processing            For example, the Galaxy Nexus (Verizon) running Android 4.0, includes software implementing the
thread,                               AbstractThreadedSyncAdapter11 class, which provides “an abstract implementation of a SyncAdapter that
                                      spawns a thread to invoke a sync operation.(Android Developer Site at Class AbstractThreadedSyncAdapter,
                                      available at http://developer.android.com/reference/android/content/AbstractThreadedSyncAdapter.html.)
                                      Specifically, the AbstractThreadedSyncAdapter creates and starts a new SyncThread, which is a synchronization
                                      processing thread. This process of starting a new              is initiated in the                  class, found
                                      in                                 .12 The Email, Contacts, Calendar, and Gmail applications utilize respectively
                                      the following classes, all of which are subclasses of                               :
                                                                                      or                            ) 13,
                                                                                                                                             and


                                      Use of the Galaxy Nexus (Verizon) running Android 4.0 demonstrates that the synchronization processing
                                      thread is active concurrently16 with the non-synchronization processing thread. For example, a user can create
                                      an event using the Calendar application on the Galaxy Nexus (Verizon) running Android 4.0, as seen in this
                                      screenshot:


   11   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

   12   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

   13  All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix. In Android
   version 2.3, the                                                 , which operates identically for relevant purposes.

   14   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

   15   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

   16   The Court construed “concurrently” to mean “. . . during an overlapping time interval.” Claim Construction Order, 4/10/13 (D.I. 447).

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                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 38 of 160

                        HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                    GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                    Infringement by the Samsung Galaxy Nexus1




                               While the user is still accessing and editing Calendar data in the Calendar application, the same event then
                               appears in the user’s Google calendar, accessed from a computer, as seen in the screenshot below. This
                                                                         10
                                 Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 39 of 160

                          HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                      GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                       Infringement by the Samsung Galaxy Nexus1

                                  demonstrates that the synchronization processing thread executes concurrently with at least one non-
                                  synchronization processing thread. The Email, Contacts, and Gmail applications behave similarly with respect
                                  to the infringing functionality.




wherein the at least one          The Samsung Galaxy Nexus is a computer readable storage media containing executable program instructions
synchronization processing        which, when executed, cause the products to perform the step of executing at least one synchronization
thread is provided by a           processing thread concurrently with the executing of the at least one user-level non-synchronization processing
synchronization software          thread, wherein the at least one synchronization processing thread is provided by a synchronization software
component which is                component which is configured to synchronize the structured data from the first database with the structured
configured to synchronize the     data from a second database.
structured data from the first
database with the structured      The Email, Gmail, Calendar and Contacts application each have a synchronization software component which is
data from a second database.      configured to synchronize the structured data from the first database with the structured data from a second
                                  database.

                                                                           11
                                  Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 40 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                               Infringement by the Samsung Galaxy Nexus1

                                    To synchronize data with an Exchange server the Email application utilizes a


                                                                                                E                                    AdapterImpl (or

                                                                                                                                                     described
                                    above, and each provides at least one synchronization processing thread.

                                    In addition, the Email, Contacts, and Calendar applications are configured to synchronize data through the use
                                    of the ExchangeService (or SyncManager) class to synchronize that application’s data.20 The ExchangeService
                                    (or SyncManager) class “handles all aspects of starting, maintaining, and stopping the various sync adapters
                                    used by Exchange. However, it is capable of handling any kind of email sync.”21 Through a series of function
                                    calls, the synchronization software components ultimately call




  17  All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix. In Android
  version 2.3, the                                                 , which operates identically for relevant purposes.

  18   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

  19   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

  20  All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix. In Android
  version 2.3, the                                                           which operates identically for relevant purposes.

  21   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

  22   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

  23   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

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                                  Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 41 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                               Infringement by the Samsung Galaxy Nexus1




                                    “The design of Exchange Server is based on standard database technology. The system relies on an embedded
                                    database engine that lays out the structure of the disk for Exchange Server and manages memory. The database
                                    engine technology is also used behind the scenes by other Windows applications, for example, Windows
                                    Internet Name Service (WINS) and Dynamic Host Configuration Protocol (DHCP).” Overview of Exchange
                                    Server database architecture and Database Engine available at http://support.microsoft.com/kb/271987.

                                    To synchronize data with Google’s servers, the Gmail application utilizes a synchronization software component
                                    which is configured to synchronize the structured data from the first database with the structured data from a
                                    second database.
                                                                                                                        This component provides at
                                    least one synchronization processing thread. T                                             e data through the use

                                                                                      These classes synchronize structured data from the first
                                    database on the Galaxy Nexus (Verizon) running Android 4.0 with the structured data from a second database


  24   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

  25   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

  26   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

  27   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

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                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 42 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                       Infringement by the Samsung Galaxy Nexus1

                               that are part of Google’s servers, which store structured data in a database. “Examples of well-known Google
                               applications that use Megastore are Gmail, Picasa, Calendar, Android Market, and AppEngine.” (Corbett, J., et
                               al., Spanner: Google’s Globally-Distributed Database, Published in the Proceedings of OSDI 2012, available at
                               http://static.googleusercontent.com/external_content/untrusted_dlcp/research.google.com/en/us/archive/spanner-
                               osdi2012.pdf; for a description of Megastore as a database that stores structured data, see Baker, J., Megastore:
                               Providing Scalable, Highly Available Storage for Interactive Services, 5th Biennial Conference on Innovative
                               Data Systems Research (CIDR ’11), January 9-12, 2011, available at
                               http://www.cidrdb.org/cidr2011/Papers/CIDR11_Paper32.pdf.)

                               In addition, the Contacts and Calendar applications further synchronize structured data with Google’s servers.
                               The Contacts and Calendar application utilize synchronization software components which are configured to
                               synchronize the structured data from the first database with the structured data from a second database. T


                                                                                                                                         These
                               components provide at least one synchronization processing thread. In order to synchronize data, these
                               components operate on structured data from the first database on the Galaxy Nexus (Verizon) running Android
                               4.0, which can be observed in the source code of the files, and the classes operate on structured data from a
                               second database that are part of Google’s servers. As explained above, Google’s servers store structured data in
                               a database.

                               By way of further example, the synchronization processing thread is configured to synchronize the structured
                               data from a first database, such as a Google calendar displayed using the Calendar application on the Galaxy
                               Nexus (Verizon) running Android 4.0 with the structured data from a second database, such as the user’s
                               Google calendar data maintained on Google’s servers. A user can create an event using the Calendar app on the
                               Galaxy Nexus (Verizon) running Android 4.0, thus updating the structured data on the first database, as seen in
                               this screenshot:



  28   This file is named                    in some versions, but the relevant functionality operates identically to

                                                                              14
                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 43 of 160

                        HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                    GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                    Infringement by the Samsung Galaxy Nexus1




                               While the user is still accessing and editing Calendar data in the Calendar application, the same event then
                               appears in the user’s Google calendar, accessed from a computer, as seen in the screenshot below. This
                                                                         15
                                 Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 44 of 160

                          HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                      GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                       Infringement by the Samsung Galaxy Nexus1

                                  demonstrates that the structured data from the first database was synchronized with the structured data from the
                                  second database on Google’s servers. The Email, Contacts, and Gmail applications behave similarly with
                                  respect to the infringing functionality.




Claim 20 of the ’414 Patent                                        Infringement by the Samsung Galaxy Nexus

20. The storage medium as in      The Samsung Galaxy Nexus comprises the storage medium as in claim 11 wherein the synchronization software
claim 11 wherein the              component is configured to synchronize structured data of a first data class and other synchronization software
synchronization software          components are configured to synchronize structured data of other corresponding data classes.
component is configured to
synchronize structured data of    The Email, Gmail, Calendar and Contacts application each have a synchronization software component which is
a first data class and other      configured to synchronize the structured data from the first database with the structured data from a second
synchronization software          database.
components are configured to
                                                                            16
                                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 45 of 160

                             HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                         GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 20 of the ’414 Patent                                                Infringement by the Samsung Galaxy Nexus

synchronize structured data of       To synchronize data with an Exchange server the Email application utilizes a
other corresponding data                                                                                                          he Contacts application utilizes a
classes.
                                                                                                 E

                                                                                                                                                      described
                                     above, and each provides at least one synchronization processing thread.

                                     In addition, the Email, Contacts, and Calendar applications are configured to synchronize data through the use of
                                     the ExchangeService (or SyncManager) class to synchronize that application’s data.32 The ExchangeService (or
                                     SyncManager) class “handles all aspects of starting, maintaining, and stopping the various sync adapters used by
                                     Exchange. However, it is capable of handling any kind of email sync.”33 Through a series of function calls, the
                                     synchronization software components ultimately call




   29  All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix. In Android
   version 2.3, the                                                 , which operates identically for relevant purposes.

   30   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

   31   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

   32  All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix. In Android
   version 2.3, the                                                           which operates identically for relevant purposes.

   33   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

   34   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

   35   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

                                                                                      17
                                  Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 46 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 20 of the ’414 Patent                                               Infringement by the Samsung Galaxy Nexus

                                    Each of the synchronization software components is configured to synchronize structured data of different data
                                    classes corresponding to the application. Thus, the Email synchronization software component is configured to
                                    synchronize structured data of an Email data class; the Contacts synchronization software component is
                                    configured to synchronize structured data of a Contacts data class; and the Calendar synchronization software
                                    component is configured to synchronize structured data of a Calendar data class.




                                    “The design of Exchange Server is based on standard database technology. The system relies on an embedded
                                    database engine that lays out the structure of the disk for Exchange Server and manages memory. The database
                                    engine technology is also used behind the scenes by other Windows applications, for example, Windows
                                    Internet Name Service (WINS) and Dynamic Host Configuration Protocol (DHCP).” Overview of Exchange
                                    Server database architecture and Database Engine available at http://support.microsoft.com/kb/271987.

                                    To synchronize data with Google’s servers, the Gmail application utilizes a synchronization software component
                                    which is configured to synchronize the structured data from the first database with the structured data from a
                                    second database.

  36   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

  37   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

  38   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

  39   All accused versions of the Galaxy Nexus implement the same functionality. See Table for indicated file in 414 - Galaxy Nexus - Source Code Appendix.

                                                                                     18
                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 47 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 20 of the ’414 Patent                                        Infringement by the Samsung Galaxy Nexus

                               s                                                                                        This component provides at
                               least one synchronization processing thread. T                                                  data through the use

                                                                                       These classes synchronize structured data from the first
                               database on the Galaxy Nexus (Verizon) running Android 4.0 with the structured data from a second database
                               that are part of Google’s servers, which store structured data in a database. “Examples of well-known Google
                               applications that use Megastore are Gmail, Picasa, Calendar, Android Market, and AppEngine.” (Corbett, J., et
                               al., Spanner: Google’s Globally-Distributed Database, Published in the Proceedings of OSDI 2012, available at
                               http://static.googleusercontent.com/external_content/untrusted_dlcp/research.google.com/en/us/archive/spanner-
                               osdi2012.pdf; for a description of Megastore as a database that stores structured data, see Baker, J., Megastore:
                               Providing Scalable, Highly Available Storage for Interactive Services, 5th Biennial Conference on Innovative
                               Data Systems Research (CIDR ’11), January 9-12, 2011, available at
                               http://www.cidrdb.org/cidr2011/Papers/CIDR11_Paper32.pdf.)

                               In addition, the Contacts and Calendar applications further synchronize structured data with Google’s servers.
                               The Contacts and Calendar application utilize synchronization software components which are configured to
                               synchronize the structured data from the first database with the structured data from a second database. The
                                                                                                                   dapter.java from

                                                                                                                                       . These
                               components provide at least one synchronization processing thread. In order to synchronize data, these
                               components operate on structured data from the first database on the Galaxy Nexus (Verizon) running Android
                               4.0, which can be observed in the source code of the files, and the classes operate on structured data from a
                               second database that are part of Google’s servers. As explained above, Google’s servers store structured data in
                               a database.

                               Each of the synchronization software components is configured to synchronize structured data of different data
                               classes corresponding to the application. Thus, the Gmail synchronization software component is configured to
                               synchronize structured data of a Gmail data class; the Google Contacts synchronization software component is

  40   This file is named                    in some versions, but the relevant functionality operates identically to

                                                                              19
                                    Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 48 of 160

                             HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                         GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 20 of the ’414 Patent                                                   Infringement by the Samsung Galaxy Nexus

                                      configured to synchronize structured data of a Google Contacts data class; and the Google Calendar
                                      synchronization software component is configured to synchronize structured data of a Google Calendar data
                                      class.



Claim 27 of the ’414 Patent                                                   Infringement by the Samsung Galaxy Nexus

27. A computer readable               To the extent that the preamble may be construed to be limiting, the Samsung Galaxy Nexus comprises a
storage medium containing             computer readable storage medium containing executable program instructions which, when executed, cause a
executable program                    data processing system to perform the method recited.
instructions which when
executed cause a data                 See explanation for corresponding part of claim 11 above.
processing system to perform
a method comprising41:
executing at least one non-           The Samsung Galaxy Nexus is a computer readable storage media containing executable program instructions
synchronization processing            which, when executed, cause the products to perform the step of executing at least one non-synchronization
thread, wherein the at least          processing thread, wherein the at least one non-synchronization processing thread is provided by a user
one non-synchronization               application which provides a user interface to allow a user to access and edit structured data in a first store
processing thread is provided         associated with a first database.
by a user application which
provides a user interface to          See explanation for corresponding part of claim 11 above.
allow a user to access and edit
structured data in a first store
associated with a first
database;
and executing at least one            The Samsung Galaxy Nexus is a computer readable storage media containing executable program instructions

   41   Apple’s inclusion of citations related to any claim preamble in this claim chart should not be interpreted as an admission that the preamble is limiting. Apple reserves the
   right to take the position that the claim preambles are limiting or not limiting on a claim by claim basis.



                                                                                         20
                                Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 49 of 160

                          HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                      GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 27 of the ’414 Patent                                      Infringement by the Samsung Galaxy Nexus

synchronization processing       which, when executed, cause the products to perform the step of executing at least one synchronization
thread concurrently with the     processing thread concurrently with the executing of the at least one user-level non-synchronization processing
executing of the at least one    thread.
user level non-
synchronization processing       See explanation for corresponding part of claim 11 above.
thread,
wherein the at least one         The Samsung Galaxy Nexus is a computer readable storage media containing executable program instructions
synchronization processing       which, when executed, cause the products to perform the step of executing at least one synchronization
thread is provided by a          processing thread concurrently with the executing of the at least one user-level non-synchronization processing
synchronization software         thread, wherein the at least one synchronization processing thread is provided by a synchronization software
component which is               component which is configured to synchronize the structured data from the first database with the structured
configured synchronize the       data from a second database.
structured data the first
database with the structured     See explanation for corresponding part of claim 11 above.
data from a second database.




                                                                          21
                          Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 50 of 160

HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY – SOURCE COE
GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

                                                  Appendix – 7,761,414 for the Galaxy Nexus

        Samsung’s response to Apple’s Interrogatory No. 41 stated that “An asterisk by a given ‘Date Available’ denotes a
Maintenance Release (‘MR’) meant to alter one or more functionalities that may relate to Apple’s Patent-in-Suit.” Therefore versions
of the software available on the accused device listed in this table are either the initial software release available on the accused device
or a Maintenance Release denoted with an asterisk by Samsung. All other software releases available on the accused device including
all other Maintenance Releases, per Samsung’s admission, are identical for purposes of analysis of the functionalities related to the
Patents-In-Suit to the initial software release on the accused device or another Maintenance Release listed in this chart.

                                                         Samsung Galaxy Nexus




Model Name        Android             S/W Version        Source Code File Location
(Carrier)         Operating           No.
                  System


SPH-L700          4.0.4




                                                         Samsung Galaxy Nexus




Model Name        Android             S/W Version        Source Code File Location
                  Operating
                     Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 51 of 160




(Carrier)    System            No.


SPH-L700     4.0.4




                                             Samsung Galaxy Nexus




Model Name   Android           S/W Version   Source Code File Location
(Carrier)    Operating         No.
             System


SPH-L700     4.0.4




                                             Samsung Galaxy Nexus




Model Name   Android           S/W Version   Source Code File Location
(Carrier)    Operating         No.




                                        2
                     Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 52 of 160




             System


SPH-L700     4.0.4




                                             Samsung Galaxy Nexus




Model Name   Android           S/W Version   Source Code File Location
(Carrier)    Operating         No.
             System


SPH-L700     4.0.4




                                             Samsung Galaxy Nexus




Model Name   Android           S/W Version   Source Code File Location
(Carrier)    Operating         No.



                                        3
                     Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 53 of 160




             System


SPH-L700     4.0.4




                                             Samsung Galaxy Nexus




Model Name   Android           S/W Version   Source Code File Location
(Carrier)    Operating         No.
             System


SPH-L700     4.0.4




                                             Samsung Galaxy Nexus




Model Name   Android           S/W Version   Source Code File Location
(Carrier)    Operating         No.



                                        4
                     Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 54 of 160




             System


SPH-L700     4.0.4




                                             Samsung Galaxy Nexus




Model Name   Android           S/W Version   Source Code File Location
(Carrier)    Operating         No.
             System


SPH-L700     4.0.4




                                             Samsung Galaxy Nexus




Model Name   Android           S/W Version   Source Code File Location
(Carrier)    Operating         No.



                                        5
                     Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 55 of 160




             System


SPH-L700     4.0.4




                                             Samsung Galaxy Nexus




Model Name   Android           S/W Version   Source Code File Location
(Carrier)    Operating         No.
             System


SPH-L700     4.0.4




                                             Samsung Galaxy Nexus




Model Name   Android           S/W Version   Source Code File Location
             Operating


                                        6
                     Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 56 of 160




(Carrier)    System            No.


SPH-L700     4.0.4




                                             Samsung Galaxy Nexus




Model Name   Android           S/W Version   Source Code File Location
(Carrier)    Operating         No.
             System


SPH-L700     4.0.4




                                             Samsung Galaxy Nexus




Model Name   Android           S/W Version   Source Code File Location
             Operating


                                        7
                     Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 57 of 160




(Carrier)    System            No.


SPH-L700     4.0.4




                                             Samsung Galaxy Nexus




Model Name   Android           S/W Version   Source Code File Location
(Carrier)    Operating         No.
             System


SPH-L700     4.0.4




                                             Samsung Galaxy Nexus




Model Name   Android           S/W Version   Source Code File Location
(Carrier)    Operating         No.



                                        8
                           Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 58 of 160




                   System


SPH-L700           4.0.4




101511997_1 (GALAXY NEXUS - SOURCE CODE APPENDIX).DOCX




                                                   9
Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 59 of 160




                EXHIBIT B-7

 Unredacted Version of
Document Sought To Be
   Filed Under Seal
   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 60 of 160




                        EXHIBIT B7


                    GALAXY NOTE



INFRINGEMENT CLAIM CHART FOR U.S. PATENT NO. 7,761,414
                     FILED UNDER SEAL
                                    Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 61 of 160

                             HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                         GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

                                                     Infringement Claim Chart for U.S. Patent No. 7,761,414


Claim 11 of the ’414 Patent                                                    Infringement by the Samsung Galaxy Note1

11. A computer readable               To the extent that the preamble may be construed to be limiting, the Samsung Galaxy Note comprises a
storage medium containing             computer readable storage medium containing executable program instructions which, when executed, cause a
executable program                    data processing system to perform the method recited.
instructions which when
executed cause a data                 The Galaxy Note (AT&T) is used herein as an exemplary device. All the accused versions are identical in all
processing system to perform          relevant respects. The Galaxy Note (AT&T) includes a 1.5 GHz dual-core processor CPU, 16 GB of on-board
a method comprising2:                 memory, a 5.8” HD Super AMOLED screen, GSM/UMTS/LTE, WiFi and Bluetooth radios providing the
                                      connectivity listed below, and software comprising version 2.3 of the Android operating system, along with
                                      various pre-installed applications and therefore is a machine capable of implementing the method recited.




   1    In this document, “Galaxy Note” refers to all of the following accused versions of the Samsung Galaxy Note (“accused versions”): the Samsung Galaxy Note (AT&T)
   sold with Android 2.3, including versions upgraded to later versions of Android operating system. The specifications for the AT&T Samsung Galaxy Note running Android
   2.3 can be found here: http://www.samsung.com/us/mobile/cell-phones/SGH-I717ZBAATT-specs (last visited May 5, 2013). The specifications cited in the main text of this
   document refer to the Galaxy Note (AT&T), unless otherwise specified. The infringing functionality outlined in this document does not vary across any accused version of the
   Galaxy Note or their respective carriers. Therefore, the contentions in this document apply to all accused versions of the Galaxy Note. Where source code is described that
   provides instructions or results in certain functionality, that source code is an excerpt of the relevant source code, and is not necessarily the exclusive source code for those
   instructions or functionality.

   2    Apple’s inclusion of citations related to any claim preamble in this claim chart should not be interpreted as an admission that the preamble is limiting. Apple reserves the
   right to take the position that the claim preambles are limiting or not limiting on a claim by claim basis.

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                                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 62 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                                  Infringement by the Samsung Galaxy Note1




                                     See Galaxy Note (AT&T)’s specifications (n.1, supra).3 The Galaxy Note (AT&T) contains instructions within
                                     its computer readable media, to perform the claimed steps. The Galaxy Note (AT&T) includes the Android
                                     software platform, which includes such instructions, as set forth below.
executing at least one user-         The Samsung Galaxy Note is a computer readable storage media containing executable program instructions
level non-synchronization            which, when executed, cause the products to perform the step of executing at least one user-level non-
processing thread, wherein the       synchronization processing thread, wherein the at least one user-level non-synchronization processing thread is
at least one user-level non-         provided by a user application which provides a user interface to allow a user to access and edit structured data
synchronization processing           in a first store associated with a first database.
thread is provided by a user
application which provides a         By way of example, the Galaxy Note (AT&T) includes program instructions which, when executed, cause the
user interface to allow a user       Galaxy Note (AT&T) to perform the step of executing applications such as the Email, Contacts, Calendar, and
to access and edit structured        Gmail applications. These applications provide a user-level non-synchronization processing thread that provides
data in a first store associated     a user interface to allow users of the applications to access and edit structured data in a first store associated with
with a first database; and           a first database.



   3   All accused versions of the Galaxy Note have similar hardware, software, and functionality as shown in each version’s respective specifications. See n.1, supra.

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                                 Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 63 of 160

                           HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                       GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                               Infringement by the Samsung Galaxy Note1

                                   The Android software platform is based on the Linux operating system, with user-level “Android Applications
                                   [that] are written in the Java programming language.” (Android Developer Site at Application Fundamentals,
                                   available at http://developer.android.com/guide/topics/fundamentals.html).

                                            “When an application is launched, the system creates a thread of execution for the application, called
                                            ‘main.’ This thread is very important because it is in charge of dispatching events to the appropriate user
                                            interface widgets, including drawing events. It is also the thread in which your application interacts with
                                            components from the Android UI toolkit (components from the android.widget and android.view
                                            packages). As such, the main thread is also sometimes called the UI thread.” (Android Developer Site at
                                            Processes and Threads, available at http://developer.android.com/guide/components/processes-and-
                                            threads.html).

                                   The Email, Contacts, Calendar, and Gmail applications are all Android applications and, accordingly, threads of
                                   execution associated with them are user-level threads. As set forth below, synchronization activities are
                                   performed in a separate thread and, accordingly, the threads for the Email, Contacts, Calendar, and Gmail
                                   applications are user-level non-synchronization processing threads.

                                   The Email application provides a user interface that allows a user to access and edit structured data
                                   corresponding to emails in a first store associated with a first database. The Email application uses
                                   EmailProvider to access and edit structured data in a SQLite database.4 (Android Developer Site at Class
                                   SQLiteDatabase, available at
                                   http://developer.android.com/reference/android/database/sqlite/SQLiteDatabase.html.) This database is created
                                   by the various methods in DBHelper or EmailProvider, depending on the version of Android.5

                                   The Contacts application provides a user interface that allows a user to access and edit structured data
                                   corresponding to contacts associated with a first database. As shown in the screenshot below, the user interface
                                   of the Contacts application allows a user to access and edit structured data in a first store associated with a first

  4   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

  5   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

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                                 Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 64 of 160

                           HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                       GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                               Infringement by the Samsung Galaxy Note1

                                   database. The Contacts application uses                    to access and edit structured data in a SQLite
                                   database.6 (Android Developer Site at Class SQLiteDatabase, available at
                                   http://developer.android.com/reference/android/database/sqlite/SQLiteDatabase.html.)




  6   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

  7   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

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                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 65 of 160

                        HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                    GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                      Infringement by the Samsung Galaxy Note1




                               The Calendar application provides a user interface that allows a user to access and edit structured data
                               corresponding to calendar entries associated with a first database. As shown in the screenshot below, the user
                               interface of the Calendar application allows a user to access and edit structured data in a first store associated
                               with a first database. The Calender application uses                       to access and edit structured data in a

                                                                           5
                                 Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 66 of 160

                           HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                       GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                               Infringement by the Samsung Galaxy Note1

                                   SQLite database.8 (Android Developer Site at Class SQLiteDatabase, available at
                                   http://developer.android.com/reference/android/database/sqlite/SQLiteDatabase.html.)




                                                                              ,



  8   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

  9   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

                                                                                     6
                                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 67 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                                 Infringement by the Samsung Galaxy Note1

                                     The Gmail application provides a user interface that allows a user to access and edit structured data
                                     corresponding to emails associated with a first database. (Id.) As shown in the screenshot below, the user
                                     interface of the Gmail application allows a user to access and edit structured data in a first store associated with
                                     a first database.10

                                     (Android Developer Site at Class SQLiteDatabase, available at
                                     http://developer.android.com/reference/android/database/sqlite/SQLiteDatabase.html.)




  10 All versions of the Gmail application that have been produced operate identically for purposes of infringing functionality outlined in this document. All versions of the
  Google synchronization code that have been produced operate identically for purposes of infringing functionality outlined in this document.

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                                Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 68 of 160

                           HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                       GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                       Infringement by the Samsung Galaxy Note1




executing at least one           The Samsung Galaxy Note is a computer readable storage media containing executable program instructions
synchronization processing       which, when executed, cause the products to perform the step of executing at least one synchronization
thread concurrently with the     processing thread concurrently with the executing of the at least one user-level non-synchronization processing
executing of the at least one    thread.


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                                    Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 69 of 160

                             HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                         GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                                  Infringement by the Samsung Galaxy Note1

user-level non-
synchronization processing            For example, the Galaxy Note (AT&T), includes software implementing the                                      11

thread,                               class, which provides “an abstract implementation of a SyncAdapter that spawns a thread to invoke a sync
                                      operation.(Android Developer Site at Class AbstractThreadedSyncAdapter, available at
                                      http://developer.android.com/reference/android/content/AbstractThreadedSyncAdapter.html.) Specifically, the
                                                                       creates and starts a new             which is a synchronization processing
                                      thread. This process of starting a new SyncThread is initiated in the                   class, found in
                                                                      .12 The Email, Contacts, Calendar, and Gmail applications utilize respectively
                                      the following classes, all of which are subclasses of
                                                                                     (or                        r) 13,
                                                                                         4,                                               15, and




                                      Use of the Galaxy Note (AT&T) demonstrates that the synchronization processing thread is active
                                      concurrently16 with the non-synchronization processing thread. For example, a user can create an event using
                                      the Calendar application on the Galaxy Note (AT&T), as seen in this screenshot:




   11   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

   12   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

   13   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix. In Android
   version 2.3, the                                                  , which operates identically for relevant purposes.

   14   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

   15   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

   16   The Court construed “concurrently” to mean “. . . during an overlapping time interval.” Claim Construction Order, 4/10/13 (D.I. 447).

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                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 70 of 160

                        HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                    GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                    Infringement by the Samsung Galaxy Note1




                               While the user is still accessing and editing Calendar data in the Calendar application, the same event then
                               appears in the user’s Google calendar, accessed from a computer, as seen in the screenshot below. This
                               demonstrates that the synchronization processing thread executes concurrently with at least one non-
                               synchronization processing thread. The Email, Contacts, and Gmail applications behave similarly with respect
                               to the infringing functionality.

                                                                       10
                                 Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 71 of 160

                          HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                      GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                        Infringement by the Samsung Galaxy Note1




wherein the at least one          The Samsung Galaxy Note is a computer readable storage media containing executable program instructions
synchronization processing        which, when executed, cause the products to perform the step of executing at least one synchronization
thread is provided by a           processing thread concurrently with the executing of the at least one user-level non-synchronization processing
synchronization software          thread, wherein the at least one synchronization processing thread is provided by a synchronization software
component which is                component which is configured to synchronize the structured data from the first database with the structured
configured to synchronize the     data from a second database.
structured data from the first
database with the structured      The Email, Gmail, Calendar and Contacts application each have a synchronization software component which is
data from a second database.      configured to synchronize the structured data from the first database with the structured data from a second
                                  database.

                                                                           11
                                  Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 72 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                                Infringement by the Samsung Galaxy Note1

                                    To synchronize data with an Exchange server the Email application utilizes a
                                    EmailSyncAdapterService.SyncAdapterImpl (or EmailSyncAlarmReceiver);17 the Contacts application utilizes a
                                                                               pl; the Calendar application utilizes a
                                                                                     E                               AdapterImpl (or

                                                                                                                                                      described
                                    above, and each provides at least one synchronization processing thread.

                                    In addition, the Email, Contacts, and Calendar applications are configured to synchronize data through the use
                                    of the                                      class to synchronize that application’s data.20 The
                                    (or                class “handles all aspects of starting, maintaining, and stopping the various sync adapters
                                    used by Exchange. However, it is capable of handling any kind of email sync.”21 Through a series of function
                                    calls, the synchronization software components ultimately call




  17 All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix. In Android
  version 2.3, the                                                , which operates identically for relevant purposes.

  18   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

  19   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

  20   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix. In Android
  version 2.3, the                                                             which operates identically for relevant purposes.

  21   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

  22   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

  23   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

                                                                                     12
                                  Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 73 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                                Infringement by the Samsung Galaxy Note1




                                    “The design of Exchange Server is based on standard database technology. The system relies on an embedded
                                    database engine that lays out the structure of the disk for Exchange Server and manages memory. The database
                                    engine technology is also used behind the scenes by other Windows applications, for example, Windows
                                    Internet Name Service (WINS) and Dynamic Host Configuration Protocol (DHCP).” Overview of Exchange
                                    Server database architecture and Database Engine available at http://support.microsoft.com/kb/271987.

                                    To synchronize data with Google’s servers, the Gmail application utilizes a synchronization software component
                                    which is configured to synchronize the structured data from the first database with the structured data from a
                                    second database.
                                                                                                                        This component provides at
                                    least one synchronization processing thread. T                                             e data through the use

                                                                                       These classes synchronize structured data from the first
                                    database on the Galaxy Note (AT&T) with the structured data from a second database that are part of Google’s


  24   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

  25   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

  26   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

  27   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

                                                                                     13
                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 74 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                        Infringement by the Samsung Galaxy Note1

                               servers, which store structured data in a database. “Examples of well-known Google applications that use
                               Megastore are Gmail, Picasa, Calendar, Android Market, and AppEngine.” (Corbett, J., et al., Spanner:
                               Google’s Globally-Distributed Database, Published in the Proceedings of OSDI 2012, available at
                               http://static.googleusercontent.com/external_content/untrusted_dlcp/research.google.com/en/us/archive/spanner-
                               osdi2012.pdf; for a description of Megastore as a database that stores structured data, see Baker, J., Megastore:
                               Providing Scalable, Highly Available Storage for Interactive Services, 5th Biennial Conference on Innovative
                               Data Systems Research (CIDR ’11), January 9-12, 2011, available at
                               http://www.cidrdb.org/cidr2011/Papers/CIDR11_Paper32.pdf.)

                               In addition, the Contacts and Calendar applications further synchronize structured data with Google’s servers.
                               The Contacts and Calendar application utilize synchronization software components which are configured to
                               synchronize the structured data from the first database with the structured data from a second database. T


                                                                                                                                      . These
                               components provide at least one synchronization processing thread. In order to synchronize data, these
                               components operate on structured data from the first database on the Galaxy Note (AT&T), which can be
                               observed in the source code of the files, and the classes operate on structured data from a second database that
                               are part of Google’s servers. As explained above, Google’s servers store structured data in a database.

                               By way of further example, the synchronization processing thread is configured to synchronize the structured
                               data from a first database, such as a Google calendar displayed using the Calendar application on the Galaxy
                               Note (AT&T) with the structured data from a second database, such as the user’s Google calendar data
                               maintained on Google’s servers. A user can create an event using the Calendar app on the Galaxy Note
                               (AT&T), thus updating the structured data on the first database, as seen in this screenshot:




  28   This file is named                    in some versions, but the relevant functionality operates identically to

                                                                              14
                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 75 of 160

                        HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                    GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                     Infringement by the Samsung Galaxy Note1




                               While the user is still accessing and editing Calendar data in the Calendar application, the same event then
                               appears in the user’s Google calendar, accessed from a computer, as seen in the screenshot below. This
                               demonstrates that the structured data from the first database was synchronized with the structured data from the
                               second database on Google’s servers. The Email, Contacts, and Gmail applications behave similarly with
                               respect to the infringing functionality.

                                                                         15
                                 Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 76 of 160

                          HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                      GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                        Infringement by the Samsung Galaxy Note1




Claim 20 of the ’414 Patent                                        Infringement by the Samsung Galaxy Note

20. The storage medium as in      The Samsung Galaxy Note comprises the storage medium as in claim 11 wherein the synchronization software
claim 11 wherein the              component is configured to synchronize structured data of a first data class and other synchronization software
synchronization software          components are configured to synchronize structured data of other corresponding data classes.
component is configured to
synchronize structured data of    The Email, Gmail, Calendar and Contacts application each have a synchronization software component which is
a first data class and other      configured to synchronize the structured data from the first database with the structured data from a second
synchronization software          database.
components are configured to
                                                                           16
                                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 77 of 160

                             HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                         GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 20 of the ’414 Patent                                                  Infringement by the Samsung Galaxy Note

synchronize structured data of       To synchronize data with an Exchange server the Email application utilizes a
other corresponding data                                                                                                          he Contacts application utilizes a
classes.
                                                                                                 E

                                                                                                                                                       described
                                     above, and each provides at least one synchronization processing thread.

                                     In addition, the Email, Contacts, and Calendar applications are configured to synchronize data through the use of
                                     the                    (or                class to synchronize that application’s data.32 The                   (or
                                                     class “handles all aspects of starting, maintaining, and stopping the various sync adapters used by
                                     Exchange. However, it is capable of handling any kind of email sync.”33 Through a series of function calls, the
                                     synchronization software components ultimately call




   29 All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix. In Android
   version 2.3, the                                                , which operates identically for relevant purposes.

   30   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

   31   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

   32   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix. In Android
   version 2.3, the                                                             which operates identically for relevant purposes.

   33   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

   34   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

   35   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

                                                                                      17
                                  Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 78 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 20 of the ’414 Patent                                                 Infringement by the Samsung Galaxy Note

                                    Each of the synchronization software components is configured to synchronize structured data of different data
                                    classes corresponding to the application. Thus, the Email synchronization software component is configured to
                                    synchronize structured data of an Email data class; the Contacts synchronization software component is
                                    configured to synchronize structured data of a Contacts data class; and the Calendar synchronization software
                                    component is configured to synchronize structured data of a Calendar data class.




                                    “The design of Exchange Server is based on standard database technology. The system relies on an embedded
                                    database engine that lays out the structure of the disk for Exchange Server and manages memory. The database
                                    engine technology is also used behind the scenes by other Windows applications, for example, Windows
                                    Internet Name Service (WINS) and Dynamic Host Configuration Protocol (DHCP).” Overview of Exchange
                                    Server database architecture and Database Engine available at http://support.microsoft.com/kb/271987.

                                    To synchronize data with Google’s servers, the Gmail application utilizes a synchronization software component
                                    which is configured to synchronize the structured data from the first database with the structured data from a
                                    second database.

  36   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

  37   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

  38   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

  39   All accused versions of the Galaxy Note implement the same functionality. See Table for indicated file in 414 - Galaxy Note - Source Code Appendix.

                                                                                     18
                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 79 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 20 of the ’414 Patent                                         Infringement by the Samsung Galaxy Note

                                                                                                                        This component provides at
                               least one synchronization processing thread. T                                                  data through the use

                                                                                    . These classes synchronize structured data from the first
                               database on the Galaxy Note (AT&T) with the structured data from a second database that are part of Google’s
                               servers, which store structured data in a database. “Examples of well-known Google applications that use
                               Megastore are Gmail, Picasa, Calendar, Android Market, and AppEngine.” (Corbett, J., et al., Spanner:
                               Google’s Globally-Distributed Database, Published in the Proceedings of OSDI 2012, available at
                               http://static.googleusercontent.com/external_content/untrusted_dlcp/research.google.com/en/us/archive/spanner-
                               osdi2012.pdf; for a description of Megastore as a database that stores structured data, see Baker, J., Megastore:
                               Providing Scalable, Highly Available Storage for Interactive Services, 5th Biennial Conference on Innovative
                               Data Systems Research (CIDR ’11), January 9-12, 2011, available at
                               http://www.cidrdb.org/cidr2011/Papers/CIDR11_Paper32.pdf.)

                               In addition, the Contacts and Calendar applications further synchronize structured data with Google’s servers.
                               The Contacts and Calendar application utilize synchronization software components which are configured to
                               synchronize the structured data from the first database with the structured data from a second database. The
                                                                                                                   dapter.java from

                                                                                                                                      . These
                               components provide at least one synchronization processing thread. In order to synchronize data, these
                               components operate on structured data from the first database on the Galaxy Note (AT&T), which can be
                               observed in the source code of the files, and the classes operate on structured data from a second database that
                               are part of Google’s servers. As explained above, Google’s servers store structured data in a database.

                               Each of the synchronization software components is configured to synchronize structured data of different data
                               classes corresponding to the application. Thus, the Gmail synchronization software component is configured to
                               synchronize structured data of a Gmail data class; the Google Contacts synchronization software component is
                               configured to synchronize structured data of a Google Contacts data class; and the Google Calendar

  40   This file is named                    in some versions, but the relevant functionality operates identically to

                                                                              19
                                    Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 80 of 160

                             HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                         GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 20 of the ’414 Patent                                                    Infringement by the Samsung Galaxy Note

                                      synchronization software component is configured to synchronize structured data of a Google Calendar data
                                      class.



Claim 27 of the ’414 Patent                                                    Infringement by the Samsung Galaxy Note

27. A computer readable               To the extent that the preamble may be construed to be limiting, the Samsung Galaxy Note comprises a
storage medium containing             computer readable storage medium containing executable program instructions which, when executed, cause a
executable program                    data processing system to perform the method recited.
instructions which when
executed cause a data                 See explanation for corresponding part of claim 11 above.
processing system to perform
a method comprising41:
executing at least one non-           The Samsung Galaxy Note is a computer readable storage media containing executable program instructions
synchronization processing            which, when executed, cause the products to perform the step of executing at least one non-synchronization
thread, wherein the at least          processing thread, wherein the at least one non-synchronization processing thread is provided by a user
one non-synchronization               application which provides a user interface to allow a user to access and edit structured data in a first store
processing thread is provided         associated with a first database.
by a user application which
provides a user interface to          See explanation for corresponding part of claim 11 above.
allow a user to access and edit
structured data in a first store
associated with a first
database;
and executing at least one            The Samsung Galaxy Note is a computer readable storage media containing executable program instructions
synchronization processing            which, when executed, cause the products to perform the step of executing at least one synchronization

   41   Apple’s inclusion of citations related to any claim preamble in this claim chart should not be interpreted as an admission that the preamble is limiting. Apple reserves the
   right to take the position that the claim preambles are limiting or not limiting on a claim by claim basis.



                                                                                         20
                                Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 81 of 160

                          HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                      GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 27 of the ’414 Patent                                       Infringement by the Samsung Galaxy Note

thread concurrently with the     processing thread concurrently with the executing of the at least one user-level non-synchronization processing
executing of the at least one    thread.
user level non-
synchronization processing       See explanation for corresponding part of claim 11 above.
thread,
wherein the at least one         The Samsung Galaxy Note is a computer readable storage media containing executable program instructions
synchronization processing       which, when executed, cause the products to perform the step of executing at least one synchronization
thread is provided by a          processing thread concurrently with the executing of the at least one user-level non-synchronization processing
synchronization software         thread, wherein the at least one synchronization processing thread is provided by a synchronization software
component which is               component which is configured to synchronize the structured data from the first database with the structured
configured synchronize the       data from a second database.
structured data the first
database with the structured     See explanation for corresponding part of claim 11 above.
data from a second database.




                                                                          21
                         Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 82 of 160

HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY – SOURCE CODE
GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

                                                  Appendix – 7,761,414 for the Galaxy Note

        Samsung’s response to Apple’s Interrogatory No. 41 stated that “An asterisk by a given ‘Date Available’ denotes a
Maintenance Release (‘MR’) meant to alter one or more functionalities that may relate to Apple’s Patent-in-Suit.” Therefore versions
of the software available on the accused device listed in this table are either the initial software release available on the accused device
or a Maintenance Release denoted with an asterisk by Samsung. All other software releases available on the accused device including
all other Maintenance Releases, per Samsung’s admission, are identical for purposes of analysis of the functionalities related to the
Patents-In-Suit to the initial software release on the accused device or another Maintenance Release listed in this chart.

                                                         Samsung Galaxy Note




Model        Android       S/W            Source Code File Location
Name         Operating     Version No.
(Carrier)    System


SGH-         2.3.6
I717


             4.0.4




                                                         Samsung Galaxy Note
                           Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 83 of 160




Model Name         Android           S/W Version    Source Code File Location
(Carrier)          Operating         No.
                   System


SGH-I717           2.3.6



                   4.0.4




                                                     Samsung Galaxy Note




Model      Android     S/W          Source Code File Location
Name       Operati     Version
(Carrie    ng          No.
r)         System


SGH-       2.3.6
I717




                                              2
                     Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 84 of 160




          4.0.4




                                               Samsung Galaxy Note




Model     Android   S/W       Source Code File Location
Name      Operati   Version
(Carrie   ng        No.
r)        System


SGH-      2.3.6
I717


          4.0.4




                                               Samsung Galaxy Note




                                        3
                     Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 85 of 160




Model     Android   S/W       Source Code File Location
Name      Operati   Version
(Carrie   ng        No.
r)        System


SGH-      2.3.6
I717


          4.0.4




                                               Samsung Galaxy Note




Model     Android   S/W       Source Code File Location
Name      Operati   Version
(Carrie   ng        No.
r)        System


SGH-      2.3.6



                                        4
                           Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 86 of 160




I717



           4.0.4




                                                   Samsung Galaxy Note




Model Name         Android           S/W Version   Source Code File Location
(Carrier)          Operating         No.
                   System


SGH-I717           2.3.6



                   4.0.4




                                                   Samsung Galaxy Note




                                              5
                    Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 87 of 160




Model       Android     S/W           Source Code File Location
Name        Operating   Version No.
(Carrier)   System


SGH-I717    2.3.6



            4.0.4




                                                 Samsung Galaxy Note




Model       Android     S/W           Source Code File Location
Name        Operating   Version No.
(Carrier)   System


SGH-I717    2.3.6




                                          6
                    Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 88 of 160




            4.0.4




                                                 Samsung Galaxy Note




Model       Android     S/W           Source Code File Location
Name        Operating   Version No.
(Carrier)   System


SGH-I717    2.3.6



            4.0.4




                                                 Samsung Galaxy Note




                                          7
                    Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 89 of 160




Model       Android     S/W           Source Code File Location
Name        Operating   Version No.
(Carrier)   System


SGH-I717    2.3.6



            4.0.4




                                                 Samsung Galaxy Note




Model       Android     S/W           Source Code File Location
Name        Operating   Version No.
(Carrier)   System


SGH-I717    2.3.6



            4.0.4




                                          8
                      Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 90 of 160




                                                Samsung Galaxy Note




Model      Android    S/W        Source Code File Location
Name       Operatin   Version
(Carrier   g System   No.
)


SGH-       2.3.6
I717


           4.0.4




                                                Samsung Galaxy Note




Model      Android    S/W        Source Code File Location
Name       Operatin   Version
(Carrier   g System   No.



                                         9
                      Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 91 of 160




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SGH-       2.3.6
I717


           4.0.4




                                                Samsung Galaxy Note




Model      Android    S/W        Source Code File Location
Name       Operatin   Version
(Carrier   g System   No.
)


SGH-       2.3.6
I717


           4.0.4




                                        10
                         Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 92 of 160




                                                        Samsung Galaxy Note




Model       Android       S/W             Source Code File Location
Name        Operatin      Version
(Carrier    g System      No.
)


SGH-        2.3.6
I717




            4.0.4




101512000_1 (GALAXY NOTE - SOURCE CODE APPENDIX).DOCX




                                                   11
Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 93 of 160




                EXHIBIT B-8

 Unredacted Version of
Document Sought To Be
   Filed Under Seal
   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 94 of 160




                        EXHIBIT B8


               GALAXY NOTE 10.1



INFRINGEMENT CLAIM CHART FOR U.S. PATENT NO. 7,761,414
                     FILED UNDER SEAL
                                     Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 95 of 160

                              HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                          GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

                                                      Infringement Claim Chart for U.S. Patent No. 7,761,414


Claim 11 of the ’414 Patent                                                  Infringement by the Samsung Galaxy Note 10.11

11. A computer readable                To the extent that the preamble may be construed to be limiting, the Samsung Galaxy Note 10.1 comprises a
storage medium containing              computer readable storage medium containing executable program instructions which, when executed, cause a
executable program                     data processing system to perform the method recited.
instructions which when
executed cause a data                  The Galaxy Note 10.1 (WiFi) is used herein as an exemplary device. All the accused versions are identical in all
processing system to perform           relevant respects. The Galaxy Note 10.1 (WiFi) includes a 1.4GHz Quad-Core Processor CPU, 16 GB on-board
a method comprising2:                  memory, a 10.1" TFT screen, WiFi and Bluetooth radios providing the connectivity listed below, and software
                                       comprising the Jelly Bean version of the Android operating system, along with various pre-installed applications
                                       and therefore is a machine capable of implementing the method recited.




   1    In this document, “Galaxy Note 10.1” refers to all of the following accused versions of the Samsung Galaxy Note 10.1 (“accused versions”): the Samsung Galaxy Tab
   10.1 (WiFi) sold with Android Ice Cream Sandwich or Jelly Bean, including versions upgraded to later versions of Android operating system. The specifications for the
   Galaxy Note 10.1 (WiFi) can be found here: http://www.samsung.com/us/mobile/galaxy-tab/GT-N8013ZWYXAR-specs (last visited May 19, 2013). The specifications cited
   in the main text of this document refer to the Galaxy Note 10.1 (WiFi), unless otherwise specified. The infringing functionality outlined in this document does not vary across
   any accused version of the Galaxy Note 10.1 or their respective carriers. Therefore, the contentions in this document apply to all accused versions of the Galaxy Note 10.1.
   Where source code is described that provides instructions or results in certain functionality, that source code is an excerpt of the relevant source code, and is not necessarily the
   exclusive source code for those instructions or functionality.

   2    Apple’s inclusion of citations related to any claim preamble in this claim chart should not be interpreted as an admission that the preamble is limiting. Apple reserves the
   right to take the position that the claim preambles are limiting or not limiting on a claim by claim basis.

                                                                                           1
                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 96 of 160

                        HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                    GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                            Infringement by the Samsung Galaxy Note 10.11




                                                                 2
                                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 97 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                               Infringement by the Samsung Galaxy Note 10.11




                                     See Galaxy Note 10.1 (WiFi)’s specifications (n.1, supra).3 The Galaxy Note 10.1 (WiFi) contains instructions
                                     within its computer readable media, to perform the claimed steps. The Galaxy Note 10.1 (WiFi) includes the
                                     Android software platform, which includes such instructions, as set forth below.
executing at least one user-         The Samsung Galaxy Note 10.1 is a computer readable storage media containing executable program
level non-synchronization            instructions which, when executed, cause the products to perform the step of executing at least one user-level
processing thread, wherein the       non-synchronization processing thread, wherein the at least one user-level non-synchronization processing
at least one user-level non-         thread is provided by a user application which provides a user interface to allow a user to access and edit
synchronization processing           structured data in a first store associated with a first database.
thread is provided by a user
application which provides a         By way of example, the Galaxy Note 10.1 (WiFi) includes program instructions which, when executed, cause
user interface to allow a user       the Galaxy Note 10.1 (WiFi) to perform the step of executing applications such as the Email, Contacts,
to access and edit structured        Calendar, and Gmail applications. These applications provide a user-level non-synchronization processing
data in a first store associated     thread that provides a user interface to allow users of the applications to access and edit structured data in a first


   3   All accused versions of the Galaxy Note 10.1 have similar hardware, software, and functionality as shown in each version’s respective specifications. See n.1, supra.

                                                                                        3
                                  Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 98 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                             Infringement by the Samsung Galaxy Note 10.11

with a first database; and          store associated with a first database.

                                    The Android software platform is based on the Linux operating system, with user-level “Android Applications
                                    [that] are written in the Java programming language.” (Android Developer Site at Application Fundamentals,
                                    available at http://developer.android.com/guide/topics/fundamentals.html).

                                             “When an application is launched, the system creates a thread of execution for the application, called
                                             ‘main.’ This thread is very important because it is in charge of dispatching events to the appropriate user
                                             interface widgets, including drawing events. It is also the thread in which your application interacts with
                                             components from the Android UI toolkit (components from the android.widget and android.view
                                             packages). As such, the main thread is also sometimes called the UI thread.” (Android Developer Site at
                                             Processes and Threads, available at http://developer.android.com/guide/components/processes-and-
                                             threads.html).

                                    The Email, Contacts, Calendar, and Gmail applications are all Android applications and, accordingly, threads of
                                    execution associated with them are user-level threads. As set forth below, synchronization activities are
                                    performed in a separate thread and, accordingly, the threads for the Email, Contacts, Calendar, and Gmail
                                    applications are user-level non-synchronization processing threads.

                                    The Email application provides a user interface that allows a user to access and edit structured data
                                    corresponding to emails in a first store associated with a first database. The Email application uses
                                    EmailProvider to access and edit structured data in a SQLite database.4 (Android Developer Site at Class
                                    SQLiteDatabase, available at
                                    http://developer.android.com/reference/android/database/sqlite/SQLiteDatabase.html.) This database is created
                                    by the various methods in                               , depending on the version of Android.5

                                    The Contacts application provides a user interface that allows a user to access and edit structured data

   4   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

   5   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

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                                 Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 99 of 160

                           HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                       GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                            Infringement by the Samsung Galaxy Note 10.11

                                   corresponding to contacts associated with a first database. As shown in the screenshot below, the user interface
                                   of the Contacts application allows a user to access and edit structured data in a first store associated with a first
                                   database. The Contacts application uses                        o access and edit structured data in a SQLite
                                   database.6 (Android Developer Site at Class SQLiteDatabase, available at
                                                                                           e/sqlite/SQLiteDatabase.html.)




                                   The Calendar application provides a user interface that allows a user to access and edit structured data

  6   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

  7   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

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                                 Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 100 of 160

                           HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                       GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                            Infringement by the Samsung Galaxy Note 10.11

                                   corresponding to calendar entries associated with a first database. As shown in the screenshot below, the user
                                   interface of the Calendar application allows a user to access and edit structured data in a first store associated
                                   with a first database. The Calender application uses                       to access and edit structured data in a
                                   SQLite database.8 (Android Developer Site at Class SQLiteDatabase, available at
                                   http://developer.android.com/reference/android/database/sqlite/SQLiteDatabase.html.)




                                   The Gmail application provides a user interface that allows a user to access and edit structured data
                                   corresponding to emails associated with a first database. (Id.) As shown in the screenshot below, the user

  8   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

  9   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

                                                                                     6
                                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 101 of 160

                             HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                         GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                               Infringement by the Samsung Galaxy Note 10.11

                                      interface of the Gmail application allows a user to access and edit structured data in a first store associated with
                                      a first database.10

                                      (Android Developer Site at Class SQLiteDatabase, available at
                                      http://developer.android.com/reference/android/database/sqlite/SQLiteDatabase.html.)




executing at least one                The Samsung Galaxy Note 10.1 is a computer readable storage media containing executable program

   10 All versions of the Gmail application that have been produced operate identically for purposes of infringing functionality outlined in this document. All versions of the
   Google synchronization code that have been produced operate identically for purposes of infringing functionality outlined in this document.

                                                                                         7
                                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 102 of 160

                             HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                         GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                               Infringement by the Samsung Galaxy Note 10.11

synchronization processing            instructions which, when executed, cause the products to perform the step of executing at least one
thread concurrently with the          synchronization processing thread concurrently with the executing of the at least one user-level non-
executing of the at least one         synchronization processing thread.
user-level non-
synchronization processing            For example, the Galaxy Note 10.1 (WiFi), includes software implementing the                                    11

thread,                               class, which provides “an abstract implementation of a SyncAdapter that spawns a thread to invoke a sync
                                      operation.(Android Developer Site at Class                                      available at
                                      http://developer.android.com/reference/android/content/AbstractThreadedSyncAdapter.html.) Specifically, the
                                                                       creates and starts a new                 which is a synchronization processing
                                      thread. This process of starting a new                is initiated in the                          found in
                                                                       12 The Email, Contacts, Calendar, and Gmail applications utilize respectively

                                      the following classes, all of which are subclasses of
                                                                                                                         ,
                                                                                                                                                and


                                      Use of the Galaxy Note 10.1 (WiFi) demonstrates that the synchronization processing thread is active
                                      concurrently16 with the non-synchronization processing thread. For example, a user can create an event using
                                      the Calendar application on the Galaxy Note 10.1 (WiFi), as seen in this screenshot:

   11   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

   12   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

   13 All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix. In
   Android version 2.3, the                                                 , which operates identically for relevant purposes.

   14   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

   15   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

   16   The Court construed “concurrently” to mean “. . . during an overlapping time interval.” Claim Construction Order, 4/10/13 (D.I. 447).

                                                                                        8
                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 103 of 160

                        HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                    GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                 Infringement by the Samsung Galaxy Note 10.11




                               While the user is still accessing and editing Calendar data in the Calendar application, the same event then
                               appears in the user’s Google calendar, accessed from a computer, as seen in the screenshot below. This
                               demonstrates that the synchronization processing thread executes concurrently with at least one non-
                               synchronization processing thread. The Email, Contacts, and Gmail applications behave similarly with respect
                               to the infringing functionality.




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                                 Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 104 of 160

                          HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                      GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                     Infringement by the Samsung Galaxy Note 10.11




wherein the at least one          The Samsung Galaxy Note 10.1 is a computer readable storage media containing executable program
synchronization processing        instructions which, when executed, cause the products to perform the step of executing at least one
thread is provided by a           synchronization processing thread concurrently with the executing of the at least one user-level non-
synchronization software          synchronization processing thread, wherein the at least one synchronization processing thread is provided by a
component which is                synchronization software component which is configured to synchronize the structured data from the first
configured to synchronize the     database with the structured data from a second database.
structured data from the first
database with the structured      The Email, Gmail, Calendar and Contacts application each have a synchronization software component which is
data from a second database.      configured to synchronize the structured data from the first database with the structured data from a second

                                                                           10
                                  Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 105 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                             Infringement by the Samsung Galaxy Note 10.11

                                    database.

                                    To synchronize data with an Exchange server the Email application utilizes a
                                                                                               larmReceiver); the Contacts application utilizes a

                                                                                                 E                                                    (or

                                                                                                                                                      described
                                    above, and each provides at least one synchronization processing thread.

                                    In addition, the Email, Contacts, and Calendar applications are configured to synchronize data through the use
                                    of the                                      class to synchronize that application’s data.20 The
                                    (or                class “handles all aspects of starting, maintaining, and stopping the various sync adapters
                                    used by Exchange. However, it is capable of handling any kin                      21                          ion




  17 All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix. In
  Android version 2.3, the                                                 , which operates identically for relevant purposes.

  18   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

  19   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

  20 All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix. In
  Android version 2.3, the                                                            which operates identically for relevant purposes.

  21   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

  22   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

                                                                                     11
                                  Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 106 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                             Infringement by the Samsung Galaxy Note 10.11




                                    “The design of Exchange Server is based on standard database technology. The system relies on an embedded
                                    database engine that lays out the structure of the disk for Exchange Server and manages memory. The database
                                    engine technology is also used behind the scenes by other Windows applications, for example, Windows
                                    Internet Name Service (WINS) and Dynamic Host Configuration Protocol (DHCP).” Overview of Exchange
                                    Server database architecture and Database Engine available at http://support.microsoft.com/kb/271987.

                                    To synchronize data with Google’s servers, the Gmail application utilizes a synchronization software component
                                    which is configured to synchronize the structured data from the first database with the structured data from a
                                    second database.
                                                                                                                        This component provides at

  23   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

  24   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

  25   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

  26   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

  27   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

                                                                                     12
                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 107 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                     Infringement by the Samsung Galaxy Note 10.11

                               least one synchronization processing thread. T

                                                                                    . These classes synchronize structured data from the first
                               database on the Galaxy Note 10.1 (WiFi) with the structured data from a second database that are part of
                               Google’s servers, which store structured data in a database. “Examples of well-known Google applications that
                               use Megastore are Gmail, Picasa, Calendar, Android Market, and AppEngine.” (Corbett, J., et al., Spanner:
                               Google’s Globally-Distributed Database, Published in the Proceedings of OSDI 2012, available at
                               http://static.googleusercontent.com/external_content/untrusted_dlcp/research.google.com/en/us/archive/spanner-
                               osdi2012.pdf; for a description of Megastore as a database that stores structured data, see Baker, J., Megastore:
                               Providing Scalable, Highly Available Storage for Interactive Services, 5th Biennial Conference on Innovative
                               Data Systems Research (CIDR ’11), January 9-12, 2011, available at
                               http://www.cidrdb.org/cidr2011/Papers/CIDR11_Paper32.pdf.)

                               In addition, the Contacts and Calendar applications further synchronize structured data with Google’s servers.
                               The Contacts and Calendar application utilize synchronization software components which are configured to
                               synchronize the structured data from the first database with the structured data from a second database. T


                                                                                                                                        These
                               components provide at least one synchronization processing thread. In order to synchronize data, these
                               components operate on structured data from the first database on the Galaxy Note 10.1 (WiFi), which can be
                               observed in the source code of the files, and the classes operate on structured data from a second database that
                               are part of Google’s servers. As explained above, Google’s servers store structured data in a database.

                               By way of further example, the synchronization processing thread is configured to synchronize the structured
                               data from a first database, such as a Google calendar displayed using the Calendar application on the Galaxy
                               Note 10.1 (WiFi) with the structured data from a second database, such as the user’s Google calendar data
                               maintained on Google’s servers. A user can create an event using the Calendar app on the Galaxy Note 10.1


  28   This file is named                    in some versions, but the relevant functionality operates identically to

                                                                              13
                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 108 of 160

                        HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                    GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                   Infringement by the Samsung Galaxy Note 10.11

                               (WiFi), thus updating the structured data on the first database, as seen in this screenshot:




                               While the user is still accessing and editing Calendar data in the Calendar application, the same event then
                               appears in the user’s Google calendar, accessed from a computer, as seen in the screenshot below. This
                               demonstrates that the structured data from the first database was synchronized with the structured data from the
                               second database on Google’s servers. The Email, Contacts, and Gmail applications behave similarly with
                               respect to the infringing functionality.




                                                                          14
                                 Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 109 of 160

                          HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                      GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                     Infringement by the Samsung Galaxy Note 10.11




Claim 20 of the ’414 Patent                                      Infringement by the Samsung Galaxy Note 10.1

20. The storage medium as in      The Samsung Galaxy Note 10.1 comprises the storage medium as in claim 11 wherein the synchronization
claim 11 wherein the              software component is configured to synchronize structured data of a first data class and other synchronization
synchronization software          software components are configured to synchronize structured data of other corresponding data classes.
component is configured to
synchronize structured data of    The Email, Gmail, Calendar and Contacts application each have a synchronization software component which is
a first data class and other      configured to synchronize the structured data from the first database with the structured data from a second
synchronization software
                                                                            15
                                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 110 of 160

                             HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                         GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 20 of the ’414 Patent                                               Infringement by the Samsung Galaxy Note 10.1

components are configured to         database.
synchronize structured data of
other corresponding data             To synchronize data with an Exchange server the Email application utilizes a
classes.

                                                                                                  E

                                                                                                                                                       described
                                     above, and each provides at least one synchronization processing thread.

                                     In addition, the Email, Contacts, and Calendar applications are configured to synchronize data through the use of
                                     the                                       class to synchronize that application’s data.32 The
                                                     class “handles all aspects of starting, maintaining, and stopping the various sync adapters used by
                                     Exchange. However, it is capable of handling any kind of email sync.”33 Through a series of function calls, the
                                     synchronization software components ultimately call




   29 All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix. In
   Android version 2.3, the                                                 , which operates identically for relevant purposes.

   30   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

   31   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

   32 All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix. In
   Android version 2.3, the                                                            which operates identically for relevant purposes.

   33   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

   34   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

                                                                                      16
                                  Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 111 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 20 of the ’414 Patent                                              Infringement by the Samsung Galaxy Note 10.1




                                    Each of the synchronization software components is configured to synchronize structured data of different data
                                    classes corresponding to the application. Thus, the Email synchronization software component is configured to
                                    synchronize structured data of an Email data class; the Contacts synchronization software component is
                                    configured to synchronize structured data of a Contacts data class; and the Calendar synchronization software
                                    component is configured to synchronize structured data of a Calendar data class.




                                    “The design of Exchange Server is based on standard database technology. The system relies on an embedded
                                    database engine that lays out the structure of the disk for Exchange Server and manages memory. The database
                                    engine technology is also used behind the scenes by other Windows applications, for example, Windows
                                    Internet Name Service (WINS) and Dynamic Host Configuration Protocol (DHCP).” Overview of Exchange

  35   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

  36   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

  37   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

  38   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

  39   All accused versions of the Galaxy Note 10.1 implement the same functionality. See Table for indicated file in 414 - Galaxy Note 10.1 - Source Code Appendix.

                                                                                     17
                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 112 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 20 of the ’414 Patent                                      Infringement by the Samsung Galaxy Note 10.1

                               Server database architecture and Database Engine available at http://support.microsoft.com/kb/271987.

                               To synchronize data with Google’s servers, the Gmail application utilizes a synchronization software component
                               which is configured to synchronize the structured data from the first database with the structured data from a
                               second database.
                                                                                                                   This component provides at
                               least one synchronization processing thread. T                                 synchronize data through the use

                                                                                    . These classes synchronize structured data from the first
                               database on the Galaxy Note 10.1 (WiFi) with the structured data from a second database that are part of
                               Google’s servers, which store structured data in a database. “Examples of well-known Google applications that
                               use Megastore are Gmail, Picasa, Calendar, Android Market, and AppEngine.” (Corbett, J., et al., Spanner:
                               Google’s Globally-Distributed Database, Published in the Proceedings of OSDI 2012, available at
                               http://static.googleusercontent.com/external_content/untrusted_dlcp/research.google.com/en/us/archive/spanner-
                               osdi2012.pdf; for a description of Megastore as a database that stores structured data, see Baker, J., Megastore:
                               Providing Scalable, Highly Available Storage for Interactive Services, 5th Biennial Conference on Innovative
                               Data Systems Research (CIDR ’11), January 9-12, 2011, available at
                               http://www.cidrdb.org/cidr2011/Papers/CIDR11_Paper32.pdf.)

                               In addition, the Contacts and Calendar applications further synchronize structured data with Google’s servers.
                               The Contacts and Calendar application utilize synchronization software components which are configured to
                               synchronize the structured data from the first database with the structured data from a second database. T
                                                                                              pters/ContactsSyncAdapter.java from

                                                                                                                                        These
                               components provide at least one synchronization processing thread. In order to synchronize data, these
                               components operate on structured data from the first database on the Galaxy Note 10.1 (WiFi), which can be
                               observed in the source code of the files, and the classes operate on structured data from a second database that
                               are part of Google’s servers. As explained above, Google’s servers store structured data in a database.

  40   This file is named                    in some versions, but the relevant functionality operates identically to

                                                                              18
                                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 113 of 160

                             HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                         GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 20 of the ’414 Patent                                                 Infringement by the Samsung Galaxy Note 10.1


                                      Each of the synchronization software components is configured to synchronize structured data of different data
                                      classes corresponding to the application. Thus, the Gmail synchronization software component is configured to
                                      synchronize structured data of a Gmail data class; the Google Contacts synchronization software component is
                                      configured to synchronize structured data of a Google Contacts data class; and the Google Calendar
                                      synchronization software component is configured to synchronize structured data of a Google Calendar data
                                      class.



Claim 27 of the ’414 Patent                                                 Infringement by the Samsung Galaxy Note 10.1

27. A computer readable               To the extent that the preamble may be construed to be limiting, the Samsung Galaxy Note 10.1 comprises a
storage medium containing             computer readable storage medium containing executable program instructions which, when executed, cause a
executable program                    data processing system to perform the method recited.
instructions which when
executed cause a data                 See explanation for corresponding part of claim 11 above.
processing system to perform
a method comprising41:
executing at least one non-           The Samsung Galaxy Note 10.1 is a computer readable storage media containing executable program
synchronization processing            instructions which, when executed, cause the products to perform the step of executing at least one non-
thread, wherein the at least          synchronization processing thread, wherein the at least one non-synchronization processing thread is provided
one non-synchronization               by a user application which provides a user interface to allow a user to access and edit structured data in a first
processing thread is provided         store associated with a first database.
by a user application which
provides a user interface to          See explanation for corresponding part of claim 11 above.
allow a user to access and edit

   41   Apple’s inclusion of citations related to any claim preamble in this claim chart should not be interpreted as an admission that the preamble is limiting. Apple reserves the
   right to take the position that the claim preambles are limiting or not limiting on a claim by claim basis.



                                                                                         19
                                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 114 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 27 of the ’414 Patent                                        Infringement by the Samsung Galaxy Note 10.1

structured data in a first store
associated with a first
database;
and executing at least one          The Samsung Galaxy Note 10.1 is a computer readable storage media containing executable program
synchronization processing          instructions which, when executed, cause the products to perform the step of executing at least one
thread concurrently with the        synchronization processing thread concurrently with the executing of the at least one user-level non-
executing of the at least one       synchronization processing thread.
user level non-
synchronization processing          See explanation for corresponding part of claim 11 above.
thread,
wherein the at least one            The Samsung Galaxy Note 10.1 is a computer readable storage media containing executable program
synchronization processing          instructions which, when executed, cause the products to perform the step of executing at least one
thread is provided by a             synchronization processing thread concurrently with the executing of the at least one user-level non-
synchronization software            synchronization processing thread, wherein the at least one synchronization processing thread is provided by a
component which is                  synchronization software component which is configured to synchronize the structured data from the first
configured synchronize the          database with the structured data from a second database.
structured data the first
database with the structured        See explanation for corresponding part of claim 11 above.
data from a second database.




                                                                             20
                          Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 115 of 160

HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY – SOURCE CODE
GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE


                                                Appendix – 7,761,414 for the Galaxy Note 10.1

        Samsung’s response to Apple’s Interrogatory No. 41 stated that “An asterisk by a given ‘Date Available’ denotes a
Maintenance Release (‘MR’) meant to alter one or more functionalities that may relate to Apple’s Patent-in-Suit.” Therefore versions
of the software available on the accused device listed in this table are either the initial software release available on the accused device
or a Maintenance Release denoted with an asterisk by Samsung. All other software releases available on the accused device including
all other Maintenance Releases, per Samsung’s admission, are identical for purposes of analysis of the functionalities related to the
Patents-In-Suit to the initial software release on the accused device or another Maintenance Release listed in this chart.

                                                       Samsung Galaxy Note 10.1




Model Name        Android            S/W Version       Source Code File Location
(Carrier)         Operating          No.
                  System


GT-N8013          4.0.4


                  4.1.1




                                                       Samsung Galaxy Note 10.1
                            Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 116 of 160




Model Name          Android             S/W Version     Source Code File Location
(Carrier)           Operating           No.
                    System


GT-N8013            4.0.4



                    4.1.1




                                                      Samsung Galaxy Note 10.1




Model       Android           S/W       Source Code File Location
Name        Operating         Version
(Carrier)   System            No.


GT-         4.0.4
N8013

            4.1.1




                                                      Samsung Galaxy Note 10.1



                                                 2
                    Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 117 of 160




Model       Android     S/W       Source Code File Location
Name        Operating   Version
(Carrier)   System      No.


GT-         4.0.4
N8013

            4.1.1




                                                Samsung Galaxy Note 10.1




Model     Android   S/W     Source Code File Location
Name      Operating Version
(Carrier) System    No.


GT-         4.0.4
N8013

            4.1.1




                                           3
                           Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 118 of 160




                                                   Samsung Galaxy Note 10.1




Model     Android   S/W     Source Code File Location
Name      Operating Version
(Carrier) System    No.


GT-        4.0.4
N8013

           4.1.1




                                                   Samsung Galaxy Note 10.1




Model Name         Android           S/W Version    Source Code File Location
(Carrier)          Operating         No.
                   System


GT-N8013           4.0.4




                                              4
                     Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 119 of 160




             4.1.1




                                             Samsung Galaxy Note 10.1




Model Name   Android           S/W Version    Source Code File Location
(Carrier)    Operating         No.
             System


GT-N8013     4.0.4


             4.1.1




                                             Samsung Galaxy Note 10.1




Model Name   Android           S/W Version    Source Code File Location
(Carrier)    Operating         No.
             System



                                        5
                     Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 120 of 160




GT-N8013     4.0.4


             4.1.1




                                             Samsung Galaxy Note 10.1




Model Name   Android           S/W Version    Source Code File Location
(Carrier)    Operating         No.
             System


GT-N8013     4.0.4


             4.1.1




                                             Samsung Galaxy Note 10.1




                                        6
                     Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 121 of 160




Model Name   Android           S/W Version    Source Code File Location
(Carrier)    Operating         No.
             System


GT-N8013     4.0.4


             4.1.1




                                             Samsung Galaxy Note 10.1




Model Name   Android           S/W Version    Source Code File Location
(Carrier)    Operating         No.
             System


GT-N8013     4.0.4


             4.1.1




                                        7
                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 122 of 160




                                            Samsung Galaxy Note 10.1




Model Name Android        S/W           Source Code File Location
(Carrier)  Operating      Version No.
           System


GT-N8013   4.0.4


           4.1.1




                                            Samsung Galaxy Note 10.1




Model Name Android        S/W           Source Code File Location
(Carrier)  Operating      Version No.
           System


GT-N8013   4.0.4




                                        8
                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 123 of 160




           4.1.1




                                            Samsung Galaxy Note 10.1




Model Name Android        S/W           Source Code File Location
(Carrier)  Operating      Version No.
           System


GT-N8013   4.0.4


           4.1.1




                                            Samsung Galaxy Note 10.1




Model Name Android        S/W           Source Code File Location
(Carrier)  Operating      Version No.
           System



                                        9
                         Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 124 of 160




GT-N8013         4.0.4


                 4.1.1


101512002_1 (GALAXY NOTE 10.1 - SOURCE CODE APPENDIX).DOCX




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Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 125 of 160




                 EXHIBIT B-9

 Unredacted Version of
Document Sought To Be
   Filed Under Seal
  Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 126 of 160




                       EXHIBIT B9


                  GALAXY NOTE II



INFRINGEMENT CLAIM CHART FOR U.S. PATENT NO. 7,761,414
                    FILED UNDER SEAL
                                    Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 127 of 160

                              HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                          GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

                                                      Infringement Claim Chart for U.S. Patent No. 7,761,414


Claim 11 of the ’414 Patent                                                   Infringement by the Samsung Galaxy Note II1

11. A computer readable                To the extent that the preamble may be construed to be limiting, the Samsung Galaxy Note II comprises a
storage medium containing              computer readable storage medium containing executable program instructions which, when executed, cause a
executable program                     data processing system to perform the method recited.
instructions which when
executed cause a data                  The Galaxy Note II (T-Mobile) is used herein as an exemplary device. All the accused versions are identical in
processing system to perform           all relevant respects. The Galaxy Note II (T-Mobile) includes a 1.6 GHz quad-core processor CPU, 16GB,
a method comprising2:                  32GB, or 64GB of on-board memory, a 5.5” HD Super AMOLED screen, HSPA+/LTE, WiFi and Bluetooth
                                       radios providing the connectivity listed below, and software comprising the Jelly Bean version of the Android
                                       operating system, along with various pre-installed applications and therefore is a machine capable of
                                       implementing the method recited.




   1    In this document, “Galaxy Note II” refers to all of the following accused versions of the Samsung Galaxy Note II (“accused versions”): the Samsung Galaxy Note II (T-
   Mobile) sold with Android Jelly Bean, the Samsung Galaxy Note II (AT&T) sold with Android Jelly Bean, the Samsung Galaxy Note II (Sprint) sold with Android Jelly Bean,
   the Samsung Galaxy Note II (Verizon) sold with Android Jelly Bean, the Samsung Galaxy Note II (US Cellular) sold with Android Jelly Bean, including versions upgraded to
   later versions of Android operating system. The specifications for the AT&T Samsung Galaxy Note II running Android Jelly Bean can be found here:
   http://www.samsung.com/us/mobile/cell-phones/SGH-I317TSAATT-specs(last visited May 5, 2013). The specifications for the Sprint Samsung Galaxy Note II running
   Android Jelly Bean can be found here: http://www.samsung.com/us/mobile/cell-phones/SPH-L900TSASPR-specs(last visited May 5, 2013). The specifications for the T-
   Mobile Samsung Galaxy Note II running Android Jelly Bean can be found here: http://www.samsung.com/us/mobile/cell-phones/SGH-T889TSATMB-specs(last visited May
   5, 2013). The specifications for the Verizon Samsung Galaxy Note II running Android Jelly Bean can be found here: http://www.samsung.com/us/mobile/cell-phones/SCH-
   I605TSAVZW-specs(last visited May 5, 2013). The specifications for the US Cellular Samsung Galaxy Note II running Android Jelly Bean can be found here:
   http://www.samsung.com/us/mobile/cell-phones/SCH-R950TSAUSC-specs (last visited May 5, 2013). The specifications cited in the main text of this document refer to the
   Galaxy Note II (T-Mobile), unless otherwise specified. The infringing functionality outlined in this document does not vary across any accused version of the Galaxy Note II
   or their respective carriers. Therefore, the contentions in this document apply to all accused versions of the Galaxy Note II. Where source code is described that provides
   instructions or results in certain functionality, that source code is an excerpt of the relevant source code, and is not necessarily the exclusive source code for those instructions
   or functionality.

   2    Apple’s inclusion of citations related to any claim preamble in this claim chart should not be interpreted as an admission that the preamble is limiting. Apple reserves the
   right to take the position that the claim preambles are limiting or not limiting on a claim by claim basis.

                                                                                           1
                                  Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 128 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                                Infringement by the Samsung Galaxy Note II1




                                     See Galaxy Note II (T-Mobile)’s specifications (n.1, supra).3 The Galaxy Note II (T-Mobile) contains
                                     instructions within its computer readable media, to perform the claimed steps. The Galaxy Note II (T-Mobile)
                                     includes the Android software platform, which includes such instructions, as set forth below.
executing at least one user-         The Samsung Galaxy Note II is a computer readable storage media containing executable program instructions
level non-synchronization            which, when executed, cause the products to perform the step of executing at least one user-level non-
processing thread, wherein the       synchronization processing thread, wherein the at least one user-level non-synchronization processing thread is
at least one user-level non-         provided by a user application which provides a user interface to allow a user to access and edit structured data
synchronization processing           in a first store associated with a first database.
thread is provided by a user
application which provides a         By way of example, the Galaxy Note II (T-Mobile) includes program instructions which, when executed, cause
user interface to allow a user       the Galaxy Note II (T-Mobile) to perform the step of executing applications such as the Email, Contacts,
to access and edit structured        Calendar, and Gmail applications. These applications provide a user-level non-synchronization processing

   3   All accused versions of the Galaxy Note II have similar hardware, software, and functionality as shown in each version’s respective specifications. See n.1, supra.

                                                                                        2
                                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 129 of 160

                             HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                         GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                                Infringement by the Samsung Galaxy Note II1

data in a first store associated      thread that provides a user interface to allow users of the applications to access and edit structured data in a first
with a first database; and            store associated with a first database.

                                      The Android software platform is based on the Linux operating system, with user-level “Android Applications
                                      [that] are written in the Java programming language.” (Android Developer Site at Application Fundamentals,
                                      available at http://developer.android.com/guide/topics/fundamentals.html).

                                              “When an application is launched, the system creates a thread of execution for the application, called
                                              ‘main.’ This thread is very important because it is in charge of dispatching events to the appropriate user
                                              interface widgets, including drawing events. It is also the thread in which your application interacts with
                                              components from the Android UI toolkit (components from the android.widget and android.view
                                              packages). As such, the main thread is also sometimes called the UI thread.” (Android Developer Site at
                                              Processes and Threads, available at http://developer.android.com/guide/components/processes-and-
                                              threads.html).

                                      The Email, Contacts, Calendar, and Gmail applications are all Android applications and, accordingly, threads of
                                      execution associated with them are user-level threads. As set forth below, synchronization activities are
                                      performed in a separate thread and, accordingly, the threads for the Email, Contacts, Calendar, and Gmail
                                      applications are user-level non-synchronization processing threads.

                                      The Email application provides a user interface that allows a user to access and edit structured data
                                      corresponding to emails in a first store associated with a first database. The Email application uses
                                      EmailProvider to access and edit structured data in a SQLite database.4 (Android Developer Site at Class
                                      SQLiteDatabase, available at
                                      http://developer.android.com/reference/android/database/sqlite/SQLiteDatabase.html.) This database is created
                                      by the various methods in DBHelper or EmailProvider, depending on the version of Android.5


    4   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

    5   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

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                                 Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 130 of 160

                           HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                       GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                              Infringement by the Samsung Galaxy Note II1

                                    The Contacts application provides a user interface that allows a user to access and edit structured data
                                    corresponding to contacts associated with a first database. As shown in the screenshot below, the user interface
                                    of the Contacts application allows a user to access and edit structured data in a first store associated with a first
                                    database. The Contacts application uses                        o access and edit structured data in a SQLite
                                    database. (Android Developer Site at Class SQLiteDatabase, available at
                                              6

                                    http://developer.android.com/reference/android/database/sqlite/SQLiteDatabase.html.)




  6   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

  7   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

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                                 Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 131 of 160

                           HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                       GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                              Infringement by the Samsung Galaxy Note II1




                                    The Calendar application provides a user interface that allows a user to access and edit structured data
                                    corresponding to calendar entries associated with a first database. As shown in the screenshot below, the user
                                    interface of the Calendar application allows a user to access and edit structured data in a first store associated
                                    with a first database. The Calender application uses CalendarProvider2 to access and edit structured data in a
                                    SQLite database.8 (Android Developer Site at Class SQLiteDatabase, available at



  8   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

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                                 Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 132 of 160

                           HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                       GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                              Infringement by the Samsung Galaxy Note II1

                                    http://developer.android.com/reference/android/database/sqlite/SQLiteDatabase.html.)




                                                                                  ,

                                    The Gmail application provides a user interface that allows a user to access and edit structured data
                                    corresponding to emails associated with a first database. (Id.) As shown in the screenshot below, the user




  9   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

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                                  Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 133 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                                Infringement by the Samsung Galaxy Note II1

                                     interface of the Gmail application allows a user to access and edit structured data in a first store associated with
                                     a first database.10

                                     (Android Developer Site at Class SQLiteDatabase, available at
                                     http://developer.android.com/reference/android/database/sqlite/SQLiteDatabase.html.)




  10 All versions of the Gmail application that have been produced operate identically for purposes of infringing functionality outlined in this document. All versions of the
  Google synchronization code that have been produced operate identically for purposes of infringing functionality outlined in this document.

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                                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 134 of 160

                             HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                         GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                                Infringement by the Samsung Galaxy Note II1




executing at least one                The Samsung Galaxy Note II is a computer readable storage media containing executable program instructions
synchronization processing            which, when executed, cause the products to perform the step of executing at least one synchronization
thread concurrently with the          processing thread concurrently with the executing of the at least one user-level non-synchronization processing
executing of the at least one         thread.
user-level non-
synchronization processing            For example, the Galaxy Note II (T-Mobile), includes software implementing the
thread,                                                               11 class, which provides “an abstract implementation of a SyncAdapter that

                                      spawns a thread to invoke a sync operation.(Android Developer Site at Class AbstractThreadedSyncAdapter,
                                      available at http://developer.android.com/reference/android/content/AbstractThreadedSyncAdapter.html.)
                                      Specifically, the                                 creates and starts a new           , which is a synchronization
                                      processing thread. This process of starting a new SyncThread is initiated in the                    class, found
                                      in                                 .12 The Email, Contacts, Calendar, and Gmail applications utilize respectively
                                      the following classes, all of which are subclasses of

                                                                                                                                                             and




   11   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

   12   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

   13   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix. In Android
   version 2.3, the                                                   , which operates identically for relevant purposes.

   14   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

   15   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

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                                  Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 135 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                                Infringement by the Samsung Galaxy Note II1


                                     Use of the Galaxy Note II (T-Mobile) demonstrates that the synchronization processing thread is active
                                     concurrently16 with the non-synchronization processing thread. For example, a user can create an event using
                                     the Calendar application on the Galaxy Note II (T-Mobile), as seen in this screenshot:




  16   The Court construed “concurrently” to mean “. . . during an overlapping time interval.” Claim Construction Order, 4/10/13 (D.I. 447).

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                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 136 of 160

                          HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                      GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                   Infringement by the Samsung Galaxy Note II1

                               While the user is still accessing and editing Calendar data in the Calendar application, the same event then
                               appears in the user’s Google calendar, accessed from a computer, as seen in the screenshot below. This
                               demonstrates that the synchronization processing thread executes concurrently with at least one non-
                               synchronization processing thread. The Email, Contacts, and Gmail applications behave similarly with respect
                               to the infringing functionality.




wherein the at least one       The Samsung Galaxy Note II is a computer readable storage media containing executable program instructions

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                                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 137 of 160

                             HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                         GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                                Infringement by the Samsung Galaxy Note II1

synchronization processing            which, when executed, cause the products to perform the step of executing at least one synchronization
thread is provided by a               processing thread concurrently with the executing of the at least one user-level non-synchronization processing
synchronization software              thread, wherein the at least one synchronization processing thread is provided by a synchronization software
component which is                    component which is configured to synchronize the structured data from the first database with the structured
configured to synchronize the         data from a second database.
structured data from the first
database with the structured          The Email, Gmail, Calendar and Contacts application each have a synchronization software component which is
data from a second database.          configured to synchronize the structured data from the first database with the structured data from a second
                                      database.

                                      To synchronize data with an Exchange server the Email application utilizes a


                                                                                                  E

                                                                                                                                                         described
                                      above, and each provides at least one synchronization processing thread.

                                      In addition, the Email, Contacts, and Calendar applications are configured to synchronize data through the use
                                      of the                                     class to synchronize that application’s data.20 The



   17   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix. In Android
   version 2.3, the                                                   , which operates identically for relevant purposes.

   18   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

   19   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

   20 All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix. In Android
   version 2.3, the                                                           which operates identically for relevant purposes.

                                                                                       11
                                  Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 138 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                               Infringement by the Samsung Galaxy Note II1

                                     (or                class “handles all aspects of starting, maintaining, and stopping the various sync adapters
                                     used by Exchange. However, it is capable of handling any kind of email sync.”21 Through a series of function
                                     calls, the synchronization software components ultimately call




                                     “The design of Exchange Server is based on standard database technology. The system relies on an embedded
                                     database engine that lays out the structure of the disk for Exchange Server and manages memory. The database

  21   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

  22   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

  23   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

  24   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

  25   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

  26   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

  27   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

                                                                                      12
                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 139 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                       Infringement by the Samsung Galaxy Note II1

                               engine technology is also used behind the scenes by other Windows applications, for example, Windows
                               Internet Name Service (WINS) and Dynamic Host Configuration Protocol (DHCP).” Overview of Exchange
                               Server database architecture and Database Engine available at http://support.microsoft.com/kb/271987.

                               To synchronize data with Google’s servers, the Gmail application utilizes a synchronization software component
                               which is configured to synchronize the structured data from the first database with the structured data from a
                               second database.
                                                                                                                   This component provides at
                               least one synchronization processing thread. T                                             e data through the use

                                                                                    . These classes synchronize structured data from the first
                               database on the Galaxy Note II (T-Mobile) with the structured data from a second database that are part of
                               Google’s servers, which store structured data in a database. “Examples of well-known Google applications that
                               use Megastore are Gmail, Picasa, Calendar, Android Market, and AppEngine.” (Corbett, J., et al., Spanner:
                               Google’s Globally-Distributed Database, Published in the Proceedings of OSDI 2012, available at
                               http://static.googleusercontent.com/external_content/untrusted_dlcp/research.google.com/en/us/archive/spanner-
                               osdi2012.pdf; for a description of Megastore as a database that stores structured data, see Baker, J., Megastore:
                               Providing Scalable, Highly Available Storage for Interactive Services, 5th Biennial Conference on Innovative
                               Data Systems Research (CIDR ’11), January 9-12, 2011, available at
                               http://www.cidrdb.org/cidr2011/Papers/CIDR11_Paper32.pdf.)

                               In addition, the Contacts and Calendar applications further synchronize structured data with Google’s servers.
                               The Contacts and Calendar application utilize synchronization software components which are configured to
                               synchronize the structured data from the first database with the structured data from a second database. T
                                                                                      yncadapters/ContactsSyncAdapter.java from

                                                                                                                                   . These
                               components provide at least one synchronization processing thread. In order to synchronize data, these
                               components operate on structured data from the first database on the Galaxy Note II (T-Mobile), which can be

  28   This file is named                    in some versions, but the relevant functionality operates identically to

                                                                              13
                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 140 of 160

                        HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                    GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                    Infringement by the Samsung Galaxy Note II1

                               observed in the source code of the files, and the classes operate on structured data from a second database that
                               are part of Google’s servers. As explained above, Google’s servers store structured data in a database.

                               By way of further example, the synchronization processing thread is configured to synchronize the structured
                               data from a first database, such as a Google calendar displayed using the Calendar application on the Galaxy
                               Note II (T-Mobile) with the structured data from a second database, such as the user’s Google calendar data
                               maintained on Google’s servers. A user can create an event using the Calendar app on the Galaxy Note II (T-
                               Mobile), thus updating the structured data on the first database, as seen in this screenshot:




                                                                         14
                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 141 of 160

                        HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                    GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                    Infringement by the Samsung Galaxy Note II1




                               While the user is still accessing and editing Calendar data in the Calendar application, the same event then
                               appears in the user’s Google calendar, accessed from a computer, as seen in the screenshot below. This
                               demonstrates that the structured data from the first database was synchronized with the structured data from the
                               second database on Google’s servers. The Email, Contacts, and Gmail applications behave similarly with
                               respect to the infringing functionality.



                                                                         15
                                 Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 142 of 160

                          HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                      GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 11 of the ’414 Patent                                      Infringement by the Samsung Galaxy Note II1




Claim 20 of the ’414 Patent                                       Infringement by the Samsung Galaxy Note II

20. The storage medium as in      The Samsung Galaxy Note II comprises the storage medium as in claim 11 wherein the synchronization
claim 11 wherein the              software component is configured to synchronize structured data of a first data class and other synchronization
synchronization software          software components are configured to synchronize structured data of other corresponding data classes.
component is configured to
synchronize structured data of    The Email, Gmail, Calendar and Contacts application each have a synchronization software component which is
                                                                         16
                                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 143 of 160

                             HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                         GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 20 of the ’414 Patent                                                 Infringement by the Samsung Galaxy Note II

a first data class and other          configured to synchronize the structured data from the first database with the structured data from a second
synchronization software              database.
components are configured to
synchronize structured data of        To synchronize data with an Exchange server the Email application utilizes a
other corresponding data
classes.
                                                                                                  E                                     AdapterImpl (or

                                                                                                                                                         described
                                      above, and each provides at least one synchronization processing thread.

                                      In addition, the Email, Contacts, and Calendar applications are configured to synchronize data through the use of
                                      the                                       class to synchronize that application’s data.32 The
                                                      class “handles all aspects of starting, maintaining, and stopping the various sync adapters used by
                                      Exchange. However, it is capable of handling any ki                       33

                                      synchronization software components ultimately cal




   29   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix. In Android
   version 2.3, the                                                   , which operates identically for relevant purposes.

   30   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

   31   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

   32   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix. In Android
   version 2.3, the                                                             which operates identically for relevant purposes.

   33   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

   34   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

                                                                                       17
                                  Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 144 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 20 of the ’414 Patent                                                Infringement by the Samsung Galaxy Note II




                                     Each of the synchronization software components is configured to synchronize structured data of different data
                                     classes corresponding to the application. Thus, the Email synchronization software component is configured to
                                     synchronize structured data of an Email data class; the Contacts synchronization software component is
                                     configured to synchronize structured data of a Contacts data class; and the Calendar synchronization software
                                     component is configured to synchronize structured data of a Calendar data class.




                                     “The design of Exchange Server is based on standard database technology. The system relies on an embedded
                                     database engine that lays out the structure of the disk for Exchange Server and manages memory. The database
                                     engine technology is also used behind the scenes by other Windows applications, for example, Windows
                                     Internet Name Service (WINS) and Dynamic Host Configuration Protocol (DHCP).” Overview of Exchange

  35   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

  36   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

  37   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

  38   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

  39   All accused versions of the Galaxy Note II implement the same functionality. See Table for indicated file in 414 - Galaxy Note II - Source Code Appendix.

                                                                                      18
                              Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 145 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 20 of the ’414 Patent                                       Infringement by the Samsung Galaxy Note II

                               Server database architecture and Database Engine available at http://support.microsoft.com/kb/271987.

                               To synchronize data with Google’s servers, the Gmail application utilizes a synchronization software component
                               which is configured to synchronize the structured data from the first database with the structured data from a
                               second database.
                                                                                                                   This component provides at
                               least one synchronization processing thread. T                                 synchronize data through the use

                                                                                      These classes synchronize structured data from the first
                               database on the Galaxy Note II (T-Mobile) with the structured data from a second database that are part of
                               Google’s servers, which store structured data in a database. “Examples of well-known Google applications that
                               use Megastore are Gmail, Picasa, Calendar, Android Market, and AppEngine.” (Corbett, J., et al., Spanner:
                               Google’s Globally-Distributed Database, Published in the Proceedings of OSDI 2012, available at
                               http://static.googleusercontent.com/external_content/untrusted_dlcp/research.google.com/en/us/archive/spanner-
                               osdi2012.pdf; for a description of Megastore as a database that stores structured data, see Baker, J., Megastore:
                               Providing Scalable, Highly Available Storage for Interactive Services, 5th Biennial Conference on Innovative
                               Data Systems Research (CIDR ’11), January 9-12, 2011, available at
                               http://www.cidrdb.org/cidr2011/Papers/CIDR11_Paper32.pdf.)

                               In addition, the Contacts and Calendar applications further synchronize structured data with Google’s servers.
                               The Contacts and Calendar application utilize synchronization software components which are configured to
                               synchronize the structured data from the first database with the structured data from a second database. T
                                                                                              pters/ContactsSyncAdapter.java from

                                                                                                                                        These
                               components provide at least one synchronization processing thread. In order to synchronize data, these
                               components operate on structured data from the first database on the Galaxy Note II (T-Mobile), which can be
                               observed in the source code of the files, and the classes operate on structured data from a second database that
                               are part of Google’s servers. As explained above, Google’s servers store structured data in a database.

  40   This file is named                    in some versions, but the relevant functionality operates identically to

                                                                              19
                                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 146 of 160

                             HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                         GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 20 of the ’414 Patent                                                   Infringement by the Samsung Galaxy Note II


                                      Each of the synchronization software components is configured to synchronize structured data of different data
                                      classes corresponding to the application. Thus, the Gmail synchronization software component is configured to
                                      synchronize structured data of a Gmail data class; the Google Contacts synchronization software component is
                                      configured to synchronize structured data of a Google Contacts data class; and the Google Calendar
                                      synchronization software component is configured to synchronize structured data of a Google Calendar data
                                      class.



Claim 27 of the ’414 Patent                                                   Infringement by the Samsung Galaxy Note II

27. A computer readable               To the extent that the preamble may be construed to be limiting, the Samsung Galaxy Note II comprises a
storage medium containing             computer readable storage medium containing executable program instructions which, when executed, cause a
executable program                    data processing system to perform the method recited.
instructions which when
executed cause a data                 See explanation for corresponding part of claim 11 above.
processing system to perform
a method comprising41:
executing at least one non-           The Samsung Galaxy Note II is a computer readable storage media containing executable program instructions
synchronization processing            which, when executed, cause the products to perform the step of executing at least one non-synchronization
thread, wherein the at least          processing thread, wherein the at least one non-synchronization processing thread is provided by a user
one non-synchronization               application which provides a user interface to allow a user to access and edit structured data in a first store
processing thread is provided         associated with a first database.
by a user application which
provides a user interface to          See explanation for corresponding part of claim 11 above.
allow a user to access and edit

   41   Apple’s inclusion of citations related to any claim preamble in this claim chart should not be interpreted as an admission that the preamble is limiting. Apple reserves the
   right to take the position that the claim preambles are limiting or not limiting on a claim by claim basis.



                                                                                         20
                                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 147 of 160

                            HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE
                        GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

Claim 27 of the ’414 Patent                                         Infringement by the Samsung Galaxy Note II

structured data in a first store
associated with a first
database;
and executing at least one          The Samsung Galaxy Note II is a computer readable storage media containing executable program instructions
synchronization processing          which, when executed, cause the products to perform the step of executing at least one synchronization
thread concurrently with the        processing thread concurrently with the executing of the at least one user-level non-synchronization processing
executing of the at least one       thread.
user level non-
synchronization processing          See explanation for corresponding part of claim 11 above.
thread,
wherein the at least one            The Samsung Galaxy Note II is a computer readable storage media containing executable program instructions
synchronization processing          which, when executed, cause the products to perform the step of executing at least one synchronization
thread is provided by a             processing thread concurrently with the executing of the at least one user-level non-synchronization processing
synchronization software            thread, wherein the at least one synchronization processing thread is provided by a synchronization software
component which is                  component which is configured to synchronize the structured data from the first database with the structured
configured synchronize the          data from a second database.
structured data the first
database with the structured        See explanation for corresponding part of claim 11 above.
data from a second database.




                                                                             21
                        Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 148 of 160

HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY – SOURCE CODE
GOOGLE'S HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE


                                                 Appendix – 7,761,414 for the Galaxy Note II

        Samsung’s response to Apple’s Interrogatory No. 41 stated that “An asterisk by a given ‘Date Available’ denotes a
Maintenance Release (‘MR’) meant to alter one or more functionalities that may relate to Apple’s Patent-in-Suit.” Therefore versions
of the software available on the accused device listed in this table are either the initial software release available on the accused device
or a Maintenance Release denoted with an asterisk by Samsung. All other software releases available on the accused device including
all other Maintenance Releases, per Samsung’s admission, are identical for purposes of analysis of the functionalities related to the
Patents-In-Suit to the initial software release on the accused device or another Maintenance Release listed in this chart.

                                                        Samsung Galaxy Note II




Model        Android       S/W             Source Code File Location
Name         Operating     Version No.
(Carrier)    System


SGH-         4.1.1
I317


SPH-         4.1.1
L900


SGH-         4.1.1
T889


SCH-I605 4.1.1
                    Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 149 of 160




SCH-        4.1.1
R950




                                                 Samsung Galaxy Note II




Model       Android     S/W           Source Code File Location
Name        Operating   Version No.
(Carrier)   System


SGH-        4.1.1
I317


SPH-        4.1.1
L900


SGH-        4.1.1
T889


SCH-I605 4.1.1


SCH-        4.1.1



                                           2
                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 150 of 160




R950




                                            Samsung Galaxy Note II




Model     Android S/W        Source Code File Location
Name      Operatin Version
(Carrie   g System No.
r)


SGH-      4.1.1
I317


SPH-      4.1.1
L900


SGH-      4.1.1
T889


SCH-      4.1.1
I605


SCH-      4.1.1



                                       3
                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 151 of 160




R950




                                            Samsung Galaxy Note II




Model     Android S/W        Source Code File Location
Name      Operatin Version
(Carrie   g System No.
r)


SGH-      4.1.1
I317


SPH-      4.1.1
L900


SGH-      4.1.1
T889


SCH-      4.1.1
I605


SCH-      4.1.1



                                       4
                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 152 of 160




R950




                                            Samsung Galaxy Note II




Model     Android S/W        Source Code File Location
Name      Operatin Version
(Carrie   g System No.
r)


SGH-      4.1.1
I317


SPH-      4.1.1
L900


SGH-      4.1.1
T889


SCH-      4.1.1
I605




                                       5
                   Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 153 of 160




SCH-      4.1.1
R950




                                            Samsung Galaxy Note II




Model     Android S/W        Source Code File Location
Name      Operatin Version
(Carrie   g System No.
r)


SGH-      4.1.1
I317


SPH-      4.1.1
L900


SGH-      4.1.1
T889


SCH-      4.1.1
I605



                                       6
                           Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 154 of 160




SCH-       4.1.1
R950




                                                   Samsung Galaxy Note II




Model Name         Android           S/W Version   Source Code File Location
(Carrier)          Operating         No.
                   System


SGH-I317           4.1.1


SPH-L900           4.1.1


SGH-T889           4.1.1


SCH-I605           4.1.1


SCH-R950           4.1.1




                                              7
                    Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 155 of 160




                                               Samsung Galaxy Note II




Model       Android     S/W           Source Code File Location
Name        Operating   Version No.
(Carrier)   System


SGH-I317    4.1.1


SPH-L900    4.1.1


SGH-        4.1.1
T889


SCH-I605    4.1.1


SCH-        4.1.1
R950




                                               Samsung Galaxy Note II




                                          8
                    Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 156 of 160




Model       Android     S/W           Source Code File Location
Name        Operating   Version No.
(Carrier)   System


SGH-I317    4.1.1


SPH-L900    4.1.1


SGH-        4.1.1
T889


SCH-I605    4.1.1


SCH-        4.1.1
R950




                                               Samsung Galaxy Note II




                                          9
                    Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 157 of 160




Model       Android     S/W           Source Code File Location
Name        Operating   Version No.
(Carrier)   System


SGH-I317    4.1.1


SPH-L900    4.1.1


SGH-        4.1.1
T889


SCH-I605    4.1.1


SCH-        4.1.1
R950




                                               Samsung Galaxy Note II




Model       Android     S/W           Source Code File Location
Name        Operating   Version No.



                                         10
                     Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 158 of 160




(Carrier)   System


SGH-I317    4.1.1


SPH-L900    4.1.1


SGH-        4.1.1
T889


SCH-I605    4.1.1


SCH-        4.1.1
R950




                                               Samsung Galaxy Note II




Model       Android     S/W           Source Code File Location
Name        Operating   Version No.
(Carrier)   System




                                         11
                      Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 159 of 160




SGH-I317    4.1.1


SPH-L900    4.1.1


SGH-        4.1.1
T889


SCH-I605    4.1.1


SCH-        4.1.1
R950




                                               Samsung Galaxy Note II




Model      Android     S/W        Source Code File Location
Name       Operatin    Version
(Carrier   g System    No.
)


SGH-       4.1.1



                                         12
                      Case 5:12-cv-00630-LHK Document 1577-1 Filed 04/03/14 Page 160 of 160




I317


SPH-       4.1.1
L900


SGH-       4.1.1
T889


SCH-       4.1.1
I605


SCH-       4.1.1
R950




                                               Samsung Galaxy Note II




Model      Android     S/W        Source Code File Location
Name       Operatin    Version
(Carrier   g System    No.
)




                                         13
